            Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 1 of 64




UNITED STATES DISTRICT COURT:
SOUTHERN DISTRICT OF NEW YORK

ESPIRE ADS LLC, THE BLU MARKET, INC.,                  Civil Action No.: ____________
ex rel. LISA NAVARRO, THE BLU MARKET                   ECF Case
LLC, ex rel. LISA NAVARRO, and LISA
NAVARRO individually,

                       Plaintiffs,                            VERIFIED COMPLAINT

       v.
                                                            TRIAL BY JURY DEMANDED
TAPP INFLUENCERS CORP., THE BLU
MARKET, INC., THE BLU MARKET LLC,
STEVEN FORKOSH, BRENNAN KASTNER,
and JUSTIN EMERT,

                       Defendants.


       Plaintiffs ESPIRE ADS LLC, THE BLU MARKET, INC., ex rel. LISA NAVARRO, THE

BLU MARKET LLC, ex rel. LISA NAVARRO, and LISA NAVARRO individually (jointly,

“Plaintiffs”), by and through their attorneys, SUTTON SACHS MEYER PLLC, as and for their

Verified Complaint against defendants TAPP INFLUENCERS CORP., THE BLU MARKET,

INC., THE BLU MARKET LLC, STEVEN FORKOSH, BRENNAN KASTNER, and JUSTIN

EMERT (jointly, “Defendants”), hereby alleges the following upon information and belief.

                                 PRELIMINARY STATEMENT

       1.       Primarily, plaintiff ESPIRE ADS LLC (“Espire”) brings this action seeking

damages and injunctive relief to prevent continuing inflicted irreparable harm as a result of, inter

alia, violations of: (A) the “Defend Trade Secrets Act” of 2016 [18 U.S.C. §§ 1831, et seq.]

(“DTSA”), comprising trade secret misappropriation, tortious interference with Espire’s business,

unfair competition, and myriad intentional and willful breaches of contract; (B) the “Racketeer

Influenced & Corrupt Organizations Act” of 1970 [18 U.S.C. §§ 1962, et seq.] (“RICO”), in

engineering a “mafia-style” protection racket to influencer users of Espire’s platform, wherein

                                                 1
             Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 2 of 64




protection was sold for a fee to users of Espire’s platform from malicious software and/or other

deliberate, continuous, and systematic conduct resulting in demonstrably false content violation

reports on third-party social media platforms targeted at Espire’s influencer users, which harms

Espire’s business, revenues, and goodwill by coercively diverting users away from Espire’s

platform and undermines the efficacy of Espire’s marketing campaigns; (C) the “Computer Fraud

& Abuse Act” of 1986 [18 U.S.C. §§ 1030, et seq.] (“CFAA”) in accessing Espire’s protected

computers in the absence of authorization and/or in excess of authorized access, inflicting damages

thereon; (D) the “Sherman Anti-Trust Act” of 1890 [15 U.S.C. §§ 1, et seq.] and New York’s

“Donnelly Act” of 1899 [New York General Business Law (“GBL”) §§ 340-47] for said anti-

competitive conduct; and (E) the “Copyright Act of 1976” [17 U.S.C. §§ 101, et seq.] for direct

and contributory infringement of Espire’s mobile and desktop source code.

        2.       Supplementally, plaintiff LISA NAVARRO individually brings this action against

defendants TAPP INFLUENCERS CORP., THE BLU MARKET, INC., THE BLUE MARKET

LLC, and STEVEN FORKOSH arising out of a “Joint Venture Agreement” dated August 28th,

2020 (“JV Agreement”) whereunder plaintiff LISA NAVARRO acquired a fifty-percent (50%)

interest in defendants THE BLU MARKET, INC., and THE BLUE MARKET LLC (jointly,

“Blu”), whereafter, defendant STEVEN FORKOSH fraudulently conveyed, assigned, or

transferred Blu’s business assets to defendant TAPP INFLUENCERS CORP. in an intentional

effort as to deprive plaintiff LISA NAVARRO of the benefits of the JV Agreement, wherefore

plaintiff LISA NAVARRO is entitled to, inter alia, damages, equitable relief, and judicial

declarations summarily adjudicating her a fifty-percent interest holder in defendant TAPP

INFLUENCERS CORP. pursuant to New York’s Debtor & Creditor Law (“DCL”) §§ 270, et seq.,

or in the alternative, voiding the transfer of Blu’s assets.

        3.       Relatedly, plaintiff LISA NAVARRO brings this action both individually and ex rel.

                                                   2
            Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 3 of 64




Blu against Blu and defendant STEVEN FORKOSH – Blu’s respective chief officer and

managing-member – for abdicating his fiduciary obligations to Blu in utilizing defendant TAPP

INFLUENCERS CORP. to usurp Blu’s corporate opportunities, for breaching the JV Agreement,

and for undertaking corporate actions on behalf of Blu without a majority vote.

                                   JURSIDICTION & VENUE

       4.       This Court has original jurisdiction pursuant to 28 U.S.C. § 1331 over Plaintiffs’

claims brought under the “Defend Trade Secrets Act” under 18 U.S.C. § 1336(c), the “Racketeer

Influenced & Corrupt Organizations Act” under 18 U.S.C. § 1965, the “Computer Fraud & Abuse

Act” under 18 U.S.C. § 1030(g), the “Copyright Act” under 28 U.S.C. § 1338, the “Sherman Anti-

Trust Act” under 15 U.S.C. § 4, and over Plaintiffs’ remaining state substantive claims pursuant to

28 U.S.C. § 1367(a).

       5.       Venue properly lies within the United States District Court for the Southern District

of New York, pursuant to 28 U.S.C. §§1391(b)-(c), since the Southern District of New York is the

judicial district in which Defendants may be found, resides, transact business, and/or subject to in

personam jurisdiction, as well as the judicial district in which a substantial part of the events or

omissions giving rise to Plaintiffs’ claims occurred.

                                          THE PARTIES

       6.       Plaintiff ESPIRE ADS LLC is a Delaware limited liability company with a

principal place of business located at 3610 Central Avenue, Riverside CA 92506.

       7.       Plaintiff LISA NAVARRO is a natural person and domiciliary of the State of

California residing in the County of Riverside, as well as the managing-member of plaintiff

ESPIRE ADS LLC.

       8.       Defendant TAPP INFLUENCERS CORP. is a New York corporation, incorporated

on September 25th, 2020, with a principal place of business located at 400 Broome Street, 11th

                                                  3
            Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 4 of 64




Floor, New York, NY 10013.

       9.       Defendant THE BLU MARKET, INC. is a New York corporation with a principal

place of business located at 400 Broome Street, 11th Floor, New York, NY 10013.

       10.      Defendant THE BLU MARKET LLC is a Delaware limited liability company

listing a registered agent service address of c/o Corporate Creations Network Inc., 3411 Silverside

Road, Tatnall Building, Suite 104, Wilmington, DE 19810.

       11.      Defendant STEVEN FORKOSH is a natural person and domiciliary of the State of

New York, with a residential address of 117 East 57th Street, Apt. 31H, New York, NY 10022, and

a business address of 400 Broome Street, 11th Floor, New York, NY 10013.

       12.      Defendant BRENNAN KASTNER is a natural person with a last-known business

address of 400 Broome Street, 11th Floor, New York, NY 10013.

       13.      Defendant JUSTIN EMERT is a natural person with a last-known business address

of 400 Broome Street, 11th Floor, New York, NY 10013.

                ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

A.     Plaintiff ESIPRE ADS LLC.

       14.      Plaintiff ESPIRE ADS LLC is an influencer social network and management

company with proprietary desktop and mobile applications, which monetizes influencers to

generate revenue by connecting them with consumer brands seeking influencer social media

marketing and promotion over platforms to conduct, inter alia, product promotion, contests,

giveaways, and other such marketing activities broadcasted to an influencer’s social media

followers, whereas plaintiff ESPIRE ADS LLC’s clients consist of, inter alia, marketing

companies, direct consumer brands, and other such media-buyer companies..

       15.      Prior to the events described herein, plaintiff ESPIRE ADS LLC’s annual revenues

exceeded three million USD ($3,000,000.00), with a conservative market valuation of USD

                                                4
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 5 of 64




($15,000,000.00) based upon a four million five hundred thousand USD ($4,500,000.00) equity

purchase offer for thirty percent (30%).

       16.     Prior to the events described herein, plaintiff ESPIRE ADS LLC’s platform was

utilized by many prominent influencers, including, inter alia, non-parties JASON SAMDENI,

ANILISE ARIAS, MICHAEL SISTO, MAX NICOLS, TANVIR RAHMIN, MIGUEL MAYA,

BLENDI COLETI, CONNER WILSON, JOSE BANUELOS, JEREMY RIVERA, MICHAEL

RANTISI, MENICE CATUK, CHRIS MURRAY, NATHAN ASHFIELD, FAISAL SHAFIQ,

@HAUNTINGS, and @PHOTOSHOP.PRANKED.

       17.     Plaintiff ESPIRE ADS LLC’s ability to obtain business from existing and new

clients is dependent upon the exclusive uses by its employees and agents of proprietary and

confidential information pertaining to, inter alia, source code, marketing plans, client

compilations, influencer compilations, programs, as well as serving client needs through specified

methods, techniques, processes, and procedures, and other such information not generally known

to the public from which plaintiff ESPIRE ADS LLC derives independent economic value,

constituting plaintiff ESPIRE ADS LLC’s trade secrets as defined by 18 U.S.C. § 1839(3).

       18.     Plaintiff ESPIRE ADS LLC has made every effort to maintain the confidentiality

of its trade secrets by, inter alia, utilizing myriad confidentiality agreements and non-disclosure

agreements to, inter alia, partners, employees, and contractors as an express condition precedent

to revealing such trade secrets.

       19.     By way of a July 26th, 2017 amended and restated operating agreement, plaintiff

LISA NAVARRO and defendant JUSTIN EMERT held membership interests in plaintiff ESPIRE

ADS LLC, which bound each to restrictive covenants, including, inter alia, non-competition, non-

solicitation, confidentiality, and indemnification, wherein plaintiff LISA NAVARRO was

denominated the chief executive officer, and wherein defendant JUSTIN EMERT was

                                                5
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 6 of 64




denominated the chief marketing officer, later ascending to the role of chief operating officer,

overseeing plaintiff ESPIRE ADS LLC’s day-to-day operations.

       20.     Accordingly, defendant JUSTIN EMERT had unfettered access to, inter alia,

plaintiff ESPIRE ADS LLC’s trade secrets and other such confidential and proprietary information,

including, inter alia, proprietary source code, software, algorithms, server data, and other such

intellectual property, pricing and cost information, customer lists, influencer lists, business

relationships, as well as proprietary systems and methods of generating revenue.

       21.     Thus, defendant JUSTIN EMERT owed plaintiff ESPIRE ADS LLC common law

and fiduciary duties of undivided loyalty and good faith.

       22.     Plaintiff ESPIRE ADS LLC took reasonable measures to protect its confidential

information from defendant JUSTIN EMERT’s intentional dissemination thereof through, inter

alia, restrictive covenants concerning disclosure, solicitation, and circumvention.

       23.     By way of “Independent Contractor Agreement” dated May 18th, 2020 (“Developer

Agreement”), plaintiff ESPIRE ADS LLC retained defendant BRENNAN KASTNER on a “work-

made-for-hire” basis to perform professional information technology services including, inter alia,

creating proprietary source code for web development, app development, management, and

maintenance of plaintiff ESPIRE ADS LLC’s technological assets, which similarly bound

defendant BRENNAN KASTNER to restrictive covenants, including, inter alia, non-competition,

non-solicitation, confidentiality, non-disclosure, and indemnification.

       24.     Accordingly, defendant BRENNAN KASTNER had unfettered access to, inter

alia, plaintiff ESPIRE ADS LLC’s trade secrets and other such confidential and proprietary

information, including, inter alia, proprietary source code, software, algorithms, server data, and

other such intellectual property, pricing and cost information, customer lists, influencer lists,

business relationships, as well as proprietary systems and methods of generating revenue.

                                                 6
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 7 of 64




       25.    Likewise, Plaintiff ESPIRE ADS LLC took reasonable measures to protect its

confidential information and trade secrets from defendant BRENNAN KASTNER’s intentional

dissemination through, inter alia, restrictive covenants concerning disclosure, solicitation, and

circumvention.

B.     Defendant THE BLU MARKET, INC. & Defendant THE BLU MARKET LLC.

       26.    Upon information and belief, defendant THE BLU MARKET, INC. and defendant

THE BLU MARKET LLC, either individually and/or jointly, are an influencer social network and

management company, monetizing influencers by connecting them with consumer brands seeking

influencer marketing and promotion.

       27.    Upon information and belief, defendant STEVEN FORKOSH is an officer,

director, member, and/or majority equity holder of each of both defendant THE BLU MARKET,

INC. and defendant THE BLU MARKET LLC.

       28.    Upon information and belief, each of defendant THE BLU MARKET, INC. and

defendant THE BLU MARKET LLC have largely been inactive since August of 2020.

C.     The Joint Venture Agreement.

       29.    Upon information and belief, throughout the period of 2018 through early 2020,

defendant STEVEN FORKOSH became interested in plaintiff ESPIRE ADS LLC’s business after

ascertaining plaintiff ESPIRE ADS LLC’s relative exponential growth and market dominance.

       30.    As such, upon information and belief, in early 2020, defendant STEVEN

FORKOSH began professionally courting plaintiff LISA NAVARRO, seeking an equity interest in

plaintiff ESPIRE ADS LLC and/or joint venture between plaintiff ESPIRE ADS LLC and Blu,

whereupon defendant STEVEN FORKOSH drafted and presented the JV Agreement to plaintiff

LISA NAVARRO.

       31.    As such, on August 29th, 2020, the JV Agreement was consummated, whereunder

                                               7
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 8 of 64




plaintiff LISA NAVARRO acquired a fifty-percent (50%) interest in the Blu defendants, and

whereunder defendant STEVEN FOSKOSH acquired a fifty-percent (50%) interest in plaintiff

ESPIRE ADS LLC.

       32.     By virtue of the JV Agreement, defendant STEVEN FORKOSH owed plaintiff

ESPIRE ADS LLC common law and fiduciary duties of undivided loyalty and good faith.

       33.     Under the access granted to defendant STEVEN FORKOSH via the JV Agreement,

defendant STEVEN FORKOSH had unfettered access to, inter alia, plaintiff ESPIRE ADS LLC’s

trade secrets and other such confidential and proprietary information, including, inter alia,

proprietary source code, software, algorithms, server data, and other such intellectual property,

pricing and cost information, customer lists, influencer lists, business relationships, as well as

proprietary systems and methods of generating revenue.

       34.     Thus, under the JV Agreement, each of plaintiff LISA NAVARRO and defendant

STEVEN FORKOSH entered into restrictive covenants for a period of no less than one (1) year

barring: direct or indirect business solicitation, direct or indirect ownership of competing

businesses, informational disclosure, employee and vendor employment solicitation, and transfer

restrictions which expressly survive termination of the JV Agreement.

       35.     Moreover, plaintiff ESPIRE ADS LLC took reasonable measures to protect its

confidential information from defendant STEVEN FORKOSH’s intentional dissemination thereof

through, inter alia, restrictive covenants concerning disclosure, solicitation, and circumvention.

       36.     Furthermore, under the JV Agreement, defendant STEVEN FORKOSH was bound

to treat plaintiff ESPIRE ADS LLC’s confidential and proprietary business information as property

of plaintiff ESPIRE ADS LLC, and thus, was prohibited from disclosure of such information to

third-parties or from defendant STEVEN FORKOSH using plaintiff ESPIRE ADS LLC’s

confidential information on his own account or on account of other such third-parties, firms, and/or

                                                 8
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 9 of 64




entities to harm plaintiff ESPIRE ADS LLC’s business, and/or benefit defendant STEVEN

FORKOSH using plaintiff ESPIRE ADS LLC’s confidential and proprietary business information

to solicit plaintiff ESPIRE ADS LLC’s clients and prospects.

D.     Defendant TAPP INFLUENCERS CORP.

       37.     Notwithstanding the JV Agreement’s explicit restrictive covenants from, inter alia,

direct or indirect competition with plaintiff ESPIRE ADS LLC, and/or solicitation of plaintiff

ESPIRE ADS LLC’s customers, employees, and vendors, on September 25th, 2020, less than one

month after executing the JV Agreement, defendant STEVEN FORKOSH, in conjunction with

other individuals, incorporated defendant TAPP INFLUENCERS CORP.

       38.     Defendant TAPP INFLUENCERS CORP. is an influencer social network and

management company, monetizing influencers by connecting them with consumer brands seeking

influencer marketing and promotion through a mobile and desktop application, wherefore

defendant TAPP INFLUENCERS CORP. is a directly competing business with plaintiff ESPIRE

ADS LLC.

       39.     Thus, upon information and belief, defendant STEVEN FORKOSH was the

promoter of defendant TAPP INFLUENCERS CORP., and is a shareholder, director, officer,

employee, and/or agent of defendant TAPP INFLUENCERS CORP.

       40.     Thus, in breach of the JV Agreement, defendant STEVEN FORKOSH was

explicitly prohibited from competing directly with plaintiff ESPIRE ADS LLC, either directly or

indirectly, by joining, participating, and/or having any ownership interest therein, including

managerial or operational control thereof.

       41.     Upon information and belief, defendant JUSTIN EMERT is a shareholder, director,

officer, employee, and/or agent of defendant TAPP INFLUENCERS CORP.

       42.     Upon information and belief, defendant BRENNAN KASTNER is a shareholder,

                                                9
        Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 10 of 64




director, officer, employee, and/or agent of defendant TAPP INFLUENCERS CORP.

       43.    Upon information and belief, defendant STEVEN FORKOSH solicited defendant

JUSTIN EMERT to join defendant TAPP INFLUENCERS CORP. while both defendant STEVEN

FORKOSH and defendant JUSTIN EMERT were working together at plaintiff ESPIRE ADS LLC

in direct contravention of the JV Agreement.

       44.    Upon information and belief, defendant STEVEN FORKOSH succeeded in

soliciting for employment at defendant TAPP INFLUENCERS CORP., and/or otherwise

influenced and/or altered the relationship by and between plaintiff ESPIRE ADS LLC and

defendant JUSTIN EMERT in direct contravention of the JV Agreement.

       45.    As such, upon information and belief, as of the date hereof, defendant JUSTIN

EMERT is an owner, director, officer, employee, and/or contractor at defendant TAPP

INFLUENCERS CORP.

       46.    Upon information and belief, defendant STEVEN FORKOSH solicited defendant

BRENNAN KASTNER to join defendant TAPP INFLUENCERS CORP. while both defendant

STEVEN FORKOSH and defendant BRENNAN KASTNER were working together at plaintiff

ESPIRE ADS LLC in direct contravention of the JV Agreement.

       47.    Upon information and belief, defendant STEVEN FORKOSH succeeded in

soliciting for employment at defendant TAPP INFLUENCERS CORP., and/or otherwise

influenced and/or altered the relationship by and between plaintiff ESPIRE ADS LLC and

defendant BRENNAN KASTNER in direct contravention of the JV Agreement.

       48.    As such, upon information and belief, as of the date hereof, defendant BRENNAN

KASTNER is an owner, director, officer, employee, and/or contractor at defendant TAPP

INFLUENCERS CORP.

       49.    The system administrator for defendant TAPP INFLUENCERS CORP.’s mobile

                                               10
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 11 of 64




and desktop application is “kast” – the programmer constant – whom , upon information and belief,

is defendant BRENNAN KASTNER, who, without authorization or consent of plaintiff ESPIRE

ADS LLC, without authorization of plaintiff ESPIRE ADS LLC, copied the HTML source code

for plaintiff ESPIRE ADS LLC’s desktop and mobile application to write the HTML source code

for defendant TAPP INFLUENCERS CORP.’s desktop and mobile application.

       50.     Indeed, defendant BRENNAN KASTNER’s programmer constant “kast” tag

network assignment appears in plaintiff ESPIRE ADS LLC’s source code as “<script

type=”text/javascript”> const kast = {networkSlug: ‘espire’}”, whereas defendant BRENNAN

KASTNER’s programmer constant “kast” tag network assignment appears defendant TAPP

INFLUENCERS CORP.’s source code as “<script type=”text/javascript”> const kast =

{networkSlug: ‘tappco}”.

       51.     Furthermore, defendant BRENNAN KASTNER misappropriated plaintiff ESPIRE

ADS LLC’s trade secrets on behalf of defendant TAPP INFLUENCERS CORP. by stealing the

following functions and source code, including, but not limited to the “base.html” source code, the

“login.html” source code, the “site.js” source code, as well as the “authentication” and “dynamic

spacing” functions.

       52.     Upon information and belief, without authorization or consent of plaintiff ESPIRE

ADS LLC, defendant BRENNAN KASTNER, inter alia, utilized plaintiff ESPIRE ADS LLC’s

react native language with expo framework source code and other such code elements to display

offers on defendant TAPP INFLUENCERS CORP. mobile and desktop applications.

       53.     As such, defendant STEVEN FORKOSH, in concert with others, including, inter

alia, defendant BRENNAN KASTNER and/or defendant JUSTIN EMERT, unlawfully converted

and otherwise stole plaintiff ESPIRE ADS LLC’s source code powering plaintiff ESPIRE ADS

LLC’s desktop and mobile applications and software in generating and operating defendant TAPP

                                                11
           Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 12 of 64




INFLUENCERS CORP.’s desktop and mobile application, as well as unlawfully converted

plaintiff ESPIRE ADS LLC’s proprietary and confidential information including, inter alia,

customer lists and influencer lists.

          54.   Upon information and belief, defendant STEVEN FORKOSH, in concert with

others, including, inter alia, defendant BRENNAN KASTNER and defendant JUSTIN EMERT,

on behalf of defendant TAPP INFLUENCER CORP., are using plaintiff ESPIRE ADS LLC’s

source code and software, as well as plaintiff ESPIRE ADS LLC’s proprietary and confidential

information including, inter alia, customer lists and influencer lists to directly compete with

plaintiff ESPIRE ADS LLC.

          55.   Upon information and belief, defendant STEVEN FORKOSH, in concert with

others, including, inter alia, defendant BRENNAN KASTNER and defendant JUSTIN EMERT,

on behalf of defendant TAPP INFLUENCER CORP., are using plaintiff ESPIRE ADS LLC’s

proprietary and confidential information including, inter alia, customer lists and influencer lists,

in an effort to actively solicit plaintiff ESPIRE ADS LLC’s specific customers and influencers to

sever their relationship with plaintiff ESPIRE ADS LLC and utilize defendant TAPP

INFLUENCERS CORP. through demonstrably false assertions that plaintiff ESPIRE ADS LLC

is, inter alia, defrauding clients, refusing to pay influencers, and converted Blu’s software and

other such intellectual property.

          56.   Likewise, upon information and belief, defendant TAPP INFLUENCERS CORP.,

intentionally and maliciously interfered with plaintiff ESPIRE ADS LLC’s deal to sell a thirty

percent (30%) equity stake to non-party FLUENT, LLC, plaintiff ESPIRE ADS LLC’s largest

client.

          57.   By and through plaintiff ESPIRE ADS LLC’s stolen source code, defendant TAPP

INFLUENCERS CORP. maliciously engaged in a course of conduct and/or created derivative

                                                12
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 13 of 64




software which automatically directly targeted plaintiff ESPIRE ADS LLC’s influencers and their

social media posts for repeated false platform content violations in an effort to harm the business

efforts and goodwill of plaintiff ESPIRE ADS LLC by removing marketing campaigns from social

media platforms in an effort to undermine plaintiff ESPIRE ADS LLC’s efficacy to clients, to

incentivize plaintiff ESPIRE ADS LLC’s influencers to switch to defendant TAPP

INFLUENCERS CORP.’s platform, and to otherwise fiscally harm plaintiff ESPIRE ADS LLC.

       58.     Additionally, upon information and belief, defendant TAPP INFLUENCERS

CORP. created and sold a “protection” racket directly to numerous influencers utilizing plaintiff

ESPIRE ADS LLC’s platform, wherein influencers purchasing defendant TAPP INFLUENCERS

CORP.’s “shield” would be immune to defendant TAPP INFLUENCERS CORP.’s malicious

course of conduct and/or software, and direct targeting of such influencer would cease; defendant

TAPP INFLUENCERS CORP.’s shield was solicited to, inter alia, non-parties JASON

SAMDENI, ANILISE ARIAS, MICHAEL SISTO, MAX NICOLS, TANVIR RAHMIN,

MIGUEL MAYA, BLENDI COLETI, CONNER WILSON, JOSE BANUELOS, JEREMY

RIVERA, MICHAEL RANTISI, MENICE CATUK, CHRIS MURRAY, NATHAN ASHFIELD,

FAISAL SHAFIQ, @HAUNTINGS, and @PHOTOSHOP.PRANKED.

E.     Defendants Hack Plaintiff ESPIRE ADS LLC.

       59.     In the Summer of 2021, it was discovered that business-sensitive data and code

stored on plaintiff ESPIRE ADS LLC’s protected computers and servers were remotely accessed,

wherein certain offers and promotional marketing campaigns featured on on plaintiff ESPIRE ADS

LLC’s desktop and mobile application were inexplicably modified without the authorization of

either plaintiff ESPIRE ADS LLC or plaintiff LISA NAVARRO, which harms plaintiff ESPIRE

ADS LLC by straining relationships and undermining goodwill with advertisers – clients of

plaintiff ESPIRE ADS LLC – by undermining the efficacy of marketing and promotional

                                                13
        Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 14 of 64




campaigns lead by plaintiff ESPIRE ADS LLC.

       60.    An internal investigation thereof revealed that in the Summer of 2021, a user from

tapp.co with an IP address of 24.154.57.70 and a geolocation of the City and State of New York

logged into the administrator area of plaintiff ESPIRE ADS LLC’s server multiple times, where it

was discovered that in addition to multiple offers and promotional marketing campaigns were

modified, web traffic was diverted and redirected away from plaintiff ESPIRE ADS LLC, and

creative URL was changed by adding random letters and/or numbers which prevents the user from

accessing the correct and intended page.

       61.    Upon information and belief, defendant STEVEN FORKOSH, in concert with

others, including, inter alia, defendant BRENNAN KASTNER and defendant JUSTIN EMERT,

intentionally, accessed plaintiff ESPIRE ADS LLC’s protected computers and servers without

authorization and/or exceeding authorized access to obtain information, causing damage and loss

to plaintiff ESPIRE ADS LLC of at least five thousand USD ($5,000.00) during a one-year period.

       62.    Upon information and belief, defendant STEVEN FORKOSH, in concert with

others, including, inter alia, defendant BRENNAN KASTNER and defendant JUSTIN EMERT,

knowingly and with an intent to defraud, accessed plaintiff ESPIRE ADS LLC’s protected

computers and servers without authorization and/or exceeding authorized access to obtain things

of value and/or to further a fraud, causing damage and loss to plaintiff ESPIRE ADS LLC of at

least five thousand USD ($5,000.00) during a one-year period.

       63.    Upon information and belief, defendant STEVEN FORKOSH, in concert with

others, including, inter alia, defendant BRENNAN KASTNER and defendant JUSTIN EMERT,

knowingly and intentionally, accessed plaintiff ESPIRE ADS LLC’s protected computers and

servers without authorization caused the transmission of a program, information, code, or other

command causing damage and loss to plaintiff ESPIRE ADS LLC of at least five thousand USD

                                              14
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 15 of 64




($5,000.00) during a one-year period.

F.     Defendant STEVEN FORKOSH’s Fraudulent Conveyance of Blu’s Business Assets.

       64.     Upon information and belief, by virtue of the foregoing, in violation of New York’s

Debtor & Creditor Law (“DCL”) § 273(a). sometime in the Fall of 2020, after incorporating

defendant TAPP INFLUENCERS CORP., defendant STEVEN FORKOSH – an insider of both

defendant THE BLU MARKET, INC. and defendant THE BLU MARKET LLC (jointly, “Blu”) –

conveyed, transferred, and/or assigned all of substantially all of Blu’s business assets to defendant

TAPP INFLUENCERS CORP. wherefore defendant STEVEN FORKOSH retained possession or

control of Blu’s business assets after the transfer through defendant TAPP INFLUENCERS CORP.

(the “Fraudulent Conveyance”) in a manner concealed or not disclosed to plaintiff LISA

NAVARRO, with actual intent to hinder, delay, and/or defraud plaintiff LISA NAVARRO, thereby

depriving plaintiff LISA NAVARRO of the benefits of the JV Agreement.

       65.     Upon information and belief, in violation of DCL § 273(a), in undertaking the

Fraudulent Conveyance to defendant TAPP INFLUENCERS CORP., neither Blu nor defendant

STEVEN FORKOSH received equivalent value for Blu’s business assets, rendering Blu insolvent

and/or Blu’s assets unreasonably small, wherefore defendant STEVEN FORKOSH intended to

incur, or reasonably should have believed that the Blu defendants would incur debts beyond their

ability to pay, specifically including the liability to plaintiff LISA NAVARRO inuring from the

Fraudulent Conveyance and breach of the JV Agreement.

       66.     Upon information and belief, despite plaintiff LISA NAVARRO’s status as a fifty-

percent (50%) equity partner of Blu, no vote was ever held authorizing the Fraudulent Conveyance

of the Blu’s business assets to defendant TAPP INFLUENCERS CORP., nor did plaintiff LISA

NAVARRO authorize the Fraudulent Conveyance of Blu’s business assets thereto.




                                                 15
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 16 of 64




                                              COUNT I
                                   (Trade Secret Misappropriation)
                                        [18 U.S.C. § 1836(b)]

       67.     Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       68.     Plaintiff ESPIRE ADS LLC’s foregoing proprietary and confidential information

pertaining to, inter alia, source code, marketing plans, client compilations, influencer

compilations, programs, as well as serving client needs through specified methods, techniques,

processes, and procedures, and other such information not generally known to the public from

which plaintiff ESPIRE ADS LLC derives independent economic value, constitutes plaintiff

ESPIRE ADS LLC’s trade secrets within the meaning of 18 U.S.C. § 1839(3).

       69.     Plaintiff ESPIRE ADS LLC’s trade secrets are used or intended for use in interstate

and/or foreign commerce.

       70.     Plaintiff ESPIRE ADS LLC has made every effort to maintain the confidentiality

of its trade secrets by, inter alia, utilizing myriad confidentiality agreements and non-disclosure

agreements to, inter alia, partners, employees, and contractors as an express condition precedent

to revealing such trade secrets.

       71.     By virtue of the foregoing, each of defendant TAPP INFLUENCERS CORP.,

defendant STEVEN FORKOSH, defendant JUSTIN EMERT, and defendant BRENNAN

KASTNER, jointly and individually, have willfully acquired plaintiff ESPIRE ADS LLC’s trade

secrets through improper means, including, inter alia, theft, bribery, misrepresentation, breach of

a duty to maintain secrecy imposed under a contract, inducement of a breach of breach of a duty

to maintain secrecy imposed under a contract, and espionage through electronic or other means, or

had reason to know that such trade secrets were acquired through improper means.

       72.     By virtue of the foregoing, each of defendant TAPP INFLUENCERS CORP.,

                                                  16
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 17 of 64




defendant STEVEN FORKOSH, defendant JUSTIN EMERT, and defendant BRENNAN

KASTNER, jointly and individually, have willfully disclosed and/or utilized ESPIRE ADS LLC’s

trade secrets without express or implied consent thereto, wherefore such trade secrets were

acquired through improper means, including, inter alia, theft, bribery, misrepresentation, breach

of a duty to maintain secrecy imposed under a contract, inducement of a breach of breach of a duty

to maintain secrecy imposed under a contract, and espionage through electronic or other means, or

had reason to know that knowledge of such trade secrets was derived through improper means or

under circumstances giving rise to a duty to maintain secrecy.

       73.     By virtue of the foregoing, none of defendant TAPP INFLUENCERS CORP.,

defendant STEVEN FORKOSH, defendant JUSTIN EMERT, nor defendant BRENNAN

KASTNER, jointly or individually, have materially changed their position prior to the instant

litigation, notwithstanding their knowledge or reasonable knowledge that the foregoing constituted

plaintiff ESPIRE ADS LLC’s trade secrets, which were not acquired by accident or mistake.

       74.     By virtue of the foregoing, plaintiff ESPIRE ADS LLC’s trade secrets were not

acquired through reverse engineering, independent derivation, and/or any other lawful means of

acquisition.

       75.     Upon information and belief, as a direct and proximate result of the heretofore

described wrongful conduct and misappropriation, plaintiff ESPIRE ADS LLC has been deprived

of the benefits of their trade secret, wherefrom plaintiff ESPIRE ADS LLC has been substantially

and irreparably harmed in an amount not readily capable of determination, whereupon further

irreparable injury will be inflicted upon plaintiff ESPIRE ADS LLC in the absence of restraint by

this Court.

       76.     As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged in an amount to be determined at trial of the instant matter, wherefore it is entitled

                                                17
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 18 of 64




to an award of all remedies set forth under 18 U.S.C. § 1836(b)(3), including damages comprised

of actual loss, injunctive relief enjoining and restraining further trade secret misappropriation,

statutory damages, damages for unjust enrichment, royalties, exemplary double damages by

statute, compensatory damages, consequential damages, incidental damages, reliance damages,

expectation damages, lost profits. costs, disbursements, attorneys’ fees, and pre-judgment interest

thereon, as well as all authorized injunctive relief, enjoining and restraining from further trade

secret misappropriation.

                                          COUNT II
                           (Unfair Competition against All Defendants)

       77.     Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       78.     By virtue of the foregoing, each of defendant TAPP INFLUENCERS CORP.,

defendant STEVEN FORKOSH, defendant JUSTIN EMERT, and defendant BRENNAN

KASTNER, both jointly and individually, left plaintiff ESPIRE ADS LLC to form a competing

company founded upon plaintiff ESPIRE ADS LLC’s misappropriated trade secrets, including,

inter alia, plaintiff ESPIRE ADS LLC’s source code, information, and other such business

compilations, including client lists and influencer lists, to gain an advantage thereon, thereby

misappropriating in bad faith plaintiff ESPIRE ADS LLC’s labor, skill, and expenditures incurred.

       79.     Plaintiff ESPIRE ADS LLC’s misappropriated trade secrets, including source code,

information, and other such business compilations, including client lists and influencer lists is not

readily ascertainable outside of plaintiff ESPIRE ADS LLC’s business, as plaintiff ESPIRE ADS

LLC has made every effort to maintain the confidentiality of such trade secrets.

       80.     As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged in an amount to be determined at trial of the instant matter, wherefore it is entitled



                                                  18
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 19 of 64




to damages comprised of actual loss, injunctive relief, compensatory damages, consequential

damages, incidental damages, reliance damages, expectation damages, lost profits, costs,

disbursements, attorneys’ fees, and pre-judgment interest thereon.

                                         COUNT III
                (Tortious Interference against TAPP INFLUENCERS CORP.)

       81.     Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       82.     By virtue of the foregoing, defendant TAPP INFLUENCERS CORP. had

knowledge of plaintiff ESPIRE ADS LLC’s existing business relationships and contracts with

third-party employees and contractors – including defendant JUSTIN EMERT and defendant

BRENNAN KASTNER – as well as clients and influencers, wherefore defendant TAPP

INFLUENCERS CORP., without reasonable justification or excuse, induced plaintiff ESPIRE

ADS LLC’s existing employees, contractors, clients, and influencers to breach contracts.

       83.     Moreover, by virtue of the foregoing, and under the unfettered access granted under

the JV Agreement, defendant TAPP INFLUENCERS CORP. had knowledge of the non-

competition, non-solicitation, and nondisclosure provisions of plaintiff ESPIRE ADS LLC’s

contracts with defendant JUSTIN EMERT and defendant BRENNAN KASTNER, and

notwithstanding, tortiously induced a breach thereof for the explicit purpose of competition with

plaintiff ESPIRE ADS LLC, solicitation of plaintiff ESPIRE ADS LLC’s clients and influencers,

and disclosure of plaintiff ESPIRE ADS LLC’s trade secrets

       84.     Furthermore, by virtue of the foregoing, defendant TAPP INFLUENCERS CORP.

without reasonable justification, maliciously induced plaintiff ESPIRE ADS LLC’s existing third-

party influencers to cease using plaintiff ESPIRE ADS LLC’s platform and begin using defendant

TAPP INFLUENCERS CORP.’s platform by unleashing their malicious course of conduct and/or



                                                  19
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 20 of 64




software derived from plaintiff ESPIRE ADS LLC’s proprietary source code directly targeting

plaintiff ESPIRE ADS LLC’s influencers and social media posts for repeated false platform

content violations, and selling “protection” from defendant TAPP INFLUENCERS CORP.’s said

malicious conduct and/or software to users of plaintiff ESPIRE ADS LLC for a fee.

       85.     As such, defendant TAPP INFLUENCERS CORP. acted with the sole purpose of

harming plaintiff ESPIRE ADS LLC and/or used dishonest, unfair, or improper means to injure

the business relationships of plaintiff ESPIRE ADS LLC by tortiously inducing a breach thereof

for the explicit purpose of competition with plaintiff ESPIRE ADS LLC and solicitation of plaintiff

ESPIRE ADS LLC’s influencers.

       86.     As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged in an amount to be determined at trial of the instant matter, wherefore it is entitled

to damages comprised of actual loss, injunctive relief, compensatory damages, consequential

damages, incidental damages, reliance damages, expectation damages, lost profits.,costs,

disbursements, attorneys’ fees, and pre-judgment interest thereon.

                                         COUNT IV
                 (Injurious Falsehood against TAPP INFLUENCERS CORP.)

       87.     Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       88.     By virtue of the foregoing, defendant TAPP INFLUENCERS CORP., by and

through its agents, uttered and/or published false statements to third-parties with malice

comprising ill will, scienter, and/or deliberate falsification about plaintiff ESPIRE ADS LLC

concerning intellectual property theft, non-payment to influencers, as well as undermining

goodwill, in an attempt to induce such third-parties to refrain from dealing with plaintiff ESPIRE

ADS LLC.



                                                  20
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 21 of 64




       89.     As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged in an amount to be determined at trial of the instant matter, wherefore it is entitled

to damages comprised of actual loss, injunctive relief, compensatory damages, consequential

damages, incidental damages, reliance damages, expectation damages, lost profits, costs,

disbursements, attorneys’ fees, and pre-judgment interest thereon.

                                         COUNT V
                      (Breach of Contract against STEVEN FORKOSH)

       90.     Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       91.     By virtue of the foregoing, the JV Agreement was a valid and binding agreement

by and between plaintiff ESPIRE ADS LLC and defendant STEVEN FORKOSH, whereunder

defendant STEVEN FORKOSH covenanted to: (A) refrain for a period of no less than one (1) year

from direct or indirect business solicitation, direct or indirect ownership of competing businesses,

informational disclosure, employee and vendor employment solicitation, and transfer restrictions

which expressly survive termination of the JV Agreement; and (B) treat plaintiff ESPIRE ADS

LLC’s confidential and proprietary business information as property of plaintiff ESPIRE ADS

LLC, and thus, was prohibited from disclosure of such information to third-parties or from

defendant STEVEN FORKOSH using plaintiff ESPIRE ADS LLC’s confidential information on

his own account or on account of other such third-parties, firms, and/or entities to harm plaintiff

ESPIRE ADS LLC’s business, and/or benefit defendant STEVEN FORKOSH using plaintiff

ESPIRE ADS LLC’s confidential and proprietary business information to solicit plaintiff ESPIRE

ADS LLC’s clients and prospects.

       92.     Moreover, under the JV Agreement, defendant STEVEN FORKOSH agreed to

personally indemnify plaintiff ESPIRE ADS LLC for all costs, fees, liabilities, and expenses,



                                                  21
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 22 of 64




including attorneys’ fees for any and all of defendant STEVEN FORKOSH’s misrepresentations

under the JV Agreement.

       93.     By virtue of the foregoing, defendant STEVEN FORKOSH made myriad

misrepresentations to plaintiff ESPIRE ADS LLC under the JV Agreement with respect to

defendant STEVEN FORKOSH’s misrepresentations made under the JV Agreement and its’

restrictive covenants insofar as defendant STEVEN FORKOSH was already competing with

plaintiff ESPIRE ADS LLC with a malicious course of conduct and/or software well before

execution of the JV Agreement.

       94.     By virtue of the foregoing, defendant STEVEN FORKOSH breached and/or

otherwise failed to perform the JV Agreement notwithstanding plaintiff ESPIRE ADS LLC’s

performance in-full.

       95.     As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged in an amount to be determined at trial of the instant matter, wherefore it is entitled

to damages comprised of actual loss, injunctive relief, compensatory damages, consequential

damages, incidental damages, reliance damages, expectation damages, lost profits, costs,

disbursements, attorneys’ fees, and pre-judgment interest thereon, as well as an award of

indemnification for all of plaintiff ESPIRE ADS LLC’s losses, costs, fees, liabilities, expenses,

and attorneys’ fees incurred in connection with this matter.

                                          COUNT VI
                              (Fraud against STEVEN FORKOSH)

       96.     Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       97.     By virtue of the foregoing, defendant STEVEN FORKOSH made myriad

intentional misrepresentations of fact and/or omissions to plaintiff ESPIRE ADS LLC under the



                                                  22
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 23 of 64




JV Agreement concerning the restrictive covenants therein, which were known to be false by

defendant STEVEN FORKOSH with the intention to induce plaintiff ESPIRE ADS LLC into the

JV Agreement respect to its’ restrictive covenants insofar as defendant STEVEN FORKOSH was

already competing with plaintiff ESPIRE ADS LLC via defendant TAPP INFLUENCERS CORP.

prior to and throughout the entirety of the JV Agreement.

       98.     Plaintiff ESPIRE ADS LLC reasonably and justifiably relied upon defendant

STEVEN FORKOSH’s misrepresentations under the JV Agreement’s restrictive covenants

concerning non-competition, non-solicitation, and non-disclosure.

       99.     As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged in an amount to be determined at trial of the instant matter, wherefore it is entitled

to damages comprised of actual loss, injunctive relief, compensatory damages, consequential

damages, incidental damages, reliance damages, expectation damages, lost profits, costs,

disbursements, attorneys’ fees, and pre-judgment interest thereon, as well as an award of

indemnification for all of plaintiff ESPIRE ADS LLC’s losses, costs, fees, liabilities, expenses,

and attorneys’ fees incurred in connection with this matter.

                                        COUNT VII
                      (Constructive Fraud against STEVEN FORKOSH)

       100.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       101.    By virtue of the foregoing, defendant STEVEN FORKOSH made myriad

misrepresentations of fact and/or omissions to plaintiff ESPIRE ADS LLC under the JV Agreement

concerning the restrictive covenants therein, which were either untrue or recklessly made with

respect to defendant STEVEN FORKOSH’s restrictive covenants insofar as defendant STEVEN

FORKOSH was already competing with plaintiff ESPIRE ADS LLC via defendant TAPP



                                                  23
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 24 of 64




INFLUENCERS CORP. prior to and throughout the entirety of the JV Agreement, whereunder, as

equal partners in the joint venture, defendant STEVEN FORKOSH owed plaintiff LISA

NAVARRO and plaintiff ESPIRE ADS LLC fiduciary duties and, by virtue of the confidential

relationship of trust imposed under the JV Agreement, warranted plaintiff LISA NAVARRO and

plaintiff ESPIRE ADS LLC to repose confidence in defendant STEVEN FORKOSH, and thus,

relax the vigilance ordinarily exercised in reliance upon the JV Agreement’s non-competition, non-

solicitation, and non-disclosure restrictive covenants.

       102.    Thus, plaintiff ESPIRE ADS LLC reasonably and justifiably relied upon defendant

STEVEN FORKOSH’s misrepresentations under the JV Agreement concerning restrictive

covenants from competition, solicitation, and disclosure.

       103.    As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged in an amount to be determined at trial of the instant matter, wherefore it is entitled

to damages comprised of actual loss, injunctive relief, compensatory damages, consequential

damages, incidental damages, reliance damages, expectation damages, lost profits, costs,

disbursements, attorneys’ fees, and pre-judgment interest thereon, as well as an award of

indemnification for all of plaintiff ESPIRE ADS LLC’s losses, costs, fees, liabilities, expenses,

and attorneys’ fees incurred in connection with this matter.

                                      COUNT VIII
                   (Fraudulent Concealment against STEVEN FORKOSH)

       104.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       105.    By virtue of the foregoing, under the JV Agreement, defendant STEVEN

FORKOSH owed plaintiff ESPIRE ADS LLC fiduciary obligations and a duty to disclose conflicts

of interest, whereupon defendant STEVEN FORKOSH intentionally concealed that he was already



                                                  24
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 25 of 64




competing with plaintiff ESPIRE ADS LLC via defendant TAPP INFLUENCERS CORP. prior to

and throughout the entirety of the JV Agreement, comprising an intentional material

misrepresentation of fact, whereupon plaintiff ESPIRE ADS LLC reasonably and justifiably relied

upon defendant STEVEN FORKOSH’s misrepresentations thereunder t concerning restrictive

covenants from competition, solicitation, and disclosure with plaintiff ESPIRE ADS LLC.

       106.    As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged in an amount to be determined at trial of the instant matter, wherefore it is entitled

to damages comprised of actual loss, injunctive relief, compensatory damages, consequential

damages, incidental damages, reliance damages, expectation damages, lost profits, costs,

disbursements, attorneys’ fees, and pre-judgment interest thereon, as well as an award of

indemnification for all of plaintiff ESPIRE ADS LLC’s losses, costs, fees, liabilities, expenses,

and attorneys’ fees incurred in connection with this matter.

                                     COUNT IX
(Breach of Implied Covenant of Good Faith & Fair Dealing against STEVEN FORKOSH)

       107.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       108.    By virtue of the foregoing, defendant STEVEN FORKOSH has deliberately acted

in a manner not expressly forbidden by the JV Agreement to deprive plaintiff ESPIRE ADS LLC

of the benefits of the JV Agreement, to prevent performance under the JV Agreement, and/or to

withhold the benefits of the JV Agreement from plaintiff ESPIRE ADS LLC.

       109.    As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged in an amount to be determined at trial of the instant matter, wherefore it is entitled

to damages comprised of actual loss, injunctive relief, compensatory damages, consequential

damages, incidental damages, reliance damages, expectation damages, lost profits, costs,



                                                  25
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 26 of 64




disbursements, attorneys’ fees, and pre-judgment interest thereon, as well as an award of

indemnification for all of plaintiff ESPIRE ADS LLC’s losses, costs, fees, liabilities, expenses,

and attorneys’ fees incurred in connection with this matter.

                                         COUNT X
                   (Breach of Fiduciary Duty against STEVEN FORKOSH)

        110.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

        111.    By virtue of the foregoing, while working at plaintiff ESPIRE ADS LLC, defendant

STEVEN FORKOSH owed a fiduciary duty to plaintiff ESPIRE ADS LLC, which defendant

STEVEN FORKOSH breached by acting in bad faith and adversely toward the interests of plaintiff

ESPIRE ADS LLC, and engaging in misconduct by: (A) actively engaging in situations of self-

dealing and/or personal conflicts of interest; (B) actively injuring or acting contrary to the interests

of plaintiff ESPIRE ADS LLC; (C) actively acting in a manner inconsistent with that of an agent

of plaintiff ESPIRE ADS LLC; (D) failing to disclose defendant STEVEN FORKOSH’s contrary

interests which would naturally influence his conduct in dealing with plaintiff ESPIRE ADS LLC

as they relate to defendant TAPP INFLUENCERS CORP.; and (E) obtaining opportunities to make

personal profits or advantageous arrangements because of his position with defendant TAPP

INFLUENCERS CORP. without passing on these advantages to plaintiff ESPIRE ADS LLC.

        112.    Furthermore, by virtue of the foregoing, while working at plaintiff ESPIRE ADS

LLC, defendant STEVEN FORKOSH has obtained opportunities to make personal profits or

advantageous arrangements because of his position under the JV Agreement with plaintiff ESPIRE

ADS LLC without passing on these advantages to plaintiff ESPIRE ADS LLC.

        113.    As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged in an amount to be determined at trial of the instant matter, wherefore it is entitled



                                                  26
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 27 of 64




to damages comprised of actual loss, injunctive relief, compensatory damages, consequential

damages, incidental damages, reliance damages, expectation damages, lost profits, costs,

disbursements, attorneys’ fees, and pre-judgment interest thereon, as well as an award of

indemnification for all of plaintiff ESPIRE ADS LLC’s losses, costs, fees, liabilities, expenses,

and attorneys’ fees incurred in connection with this matter.

                                          COUNT XI
                     (Tortious Interference against STEVEN FORKOSH)

       114.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       115.    By virtue of the foregoing, defendant STEVEN FORKOSH had knowledge of

plaintiff ESPIRE ADS LLC’s existing contracts with employees and contractors – including, inter

alia, defendant JUSTIN EMERT and defendant BRENNAN KASTNER – as well as clients and

influencers, wherefore defendant STEVEN FORKOSH, without reasonable justification or

excuse, induced plaintiff ESPIRE ADS LLC’s said existing employees, contractors, clients, and

influencers to breach said contracts.

       116.    By virtue of the foregoing, under the unfettered access granted under the JV

Agreement, defendant STEVEN FORKOSH had knowledge of the non-competition, non-

solicitation, and nondisclosure provisions of plaintiff ESPIRE ADS LLC’s contracts with

defendant JUSTIN EMERT and defendant BRENNAN KASTNER, as well as other such

employees, contractors, vendors, clients, and influencers, and notwithstanding, tortiously induced

a breach thereof for the explicit purpose of competition with plaintiff ESPIRE ADS LLC,

solicitation of plaintiff ESPIRE ADS LLC’s clients and influencers, and disclosure of plaintiff

ESPIRE ADS LLC’s trade secrets.

       117.    Moreover, by virtue of the foregoing, defendant STEVEN FORKOSH acted with



                                                  27
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 28 of 64




the sole purpose of harming plaintiff ESPIRE ADS LLC and/or used dishonest, unfair, or improper

means to injure the business relationships of plaintiff ESPIRE ADS LLC.

       118.    As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged in an amount to be determined at trial of the instant matter, wherefore it is entitled

to damages comprised of actual loss, injunctive relief, compensatory damages, consequential

damages, incidental damages, reliance damages, expectation damages, lost profits, costs,

disbursements, attorneys’ fees, and pre-judgment interest thereon, as well as an award of

indemnification for all of plaintiff ESPIRE ADS LLC’s losses, costs, fees, liabilities, expenses,

and attorneys’ fees incurred in connection with this matter.

                                         COUNT XII
                         (Breach of Contract against JUSTIN EMERT)

       119.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       120.    By virtue of the foregoing, the July 26th, 2017 amended and restated operating

agreement is a legally valid and binding contract by and amongst defendant JUSTIN EMERT and

plaintiff ESPIRE ADS LLC, binding defendant JUSTIN EMERT to restrictive covenants,

including, inter alia, non-competition with plaintiff ESPIRE ADS LLC, non-solicitation of

plaintiff ESPIRE ADS LLC’s clients, influencers, and business prospects, and confidentiality, as

to plaintiff ESPIRE ADS LLC’s proprietary confidential information and trade secrets.

       121.    By virtue of the foregoing, defendant JUSTIN EMERT breached and/or otherwise

failed to perform the July 26th, 2017 amended and restated operating agreement, notwithstanding

plaintiff ESPIRE ADS LLC’s performance in-full.

       122.    As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged in an amount to be determined at trial of the instant matter, wherefore it is entitled



                                                  28
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 29 of 64




to damages comprised of actual loss, injunctive relief, compensatory damages, consequential

damages, incidental damages, reliance damages, expectation damages, lost profits, costs,

disbursements, attorneys’ fees, and pre-judgment interest thereon, as well as an award of

indemnification for all of plaintiff ESPIRE ADS LLC’s losses, costs, fees, liabilities, expenses,

and attorneys’ fees incurred in connection with this matter.

                                     COUNT XIII
   (Breach of Implied Covenant of Good Faith & Fair Dealing against JUSTIN EMERT)

       123.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       124.    By virtue of the foregoing, defendant JUSTIN EMERT has deliberately acted in a

manner not expressly forbidden by the July 26th, 2017 amended and restated operating agreement

to deprive plaintiff ESPIRE ADS LLC of the benefits of the July 26th, 2017 amended and restated

operating agreement, to prevent performance under the July 26th, 2017 amended and restated

operating agreement, and/or to withhold the benefits of the July 26th, 2017 amended and restated

operating agreement from plaintiff ESPIRE ADS LLC.

       125.    As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged in an amount to be determined at trial of the instant matter, wherefore it is entitled

to damages comprised of actual loss, injunctive relief, compensatory damages, consequential

damages, incidental damages, reliance damages, expectation damages, lost profits, costs,

disbursements, attorneys’ fees, and pre-judgment interest thereon, as well as an award of

indemnification for all of plaintiff ESPIRE ADS LLC’s losses, costs, fees, liabilities, expenses,

and attorneys’ fees incurred in connection with this matter.

                                        COUNT XIV
                     (Breach of Fiduciary Duty against JUSTIN EMERT)

       126.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

                                                  29
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 30 of 64




paragraphs heretofore as if fully set forth herein.

       127.    By virtue of the foregoing, while working at plaintiff ESPIRE ADS LLC, defendant

JUSTIN EMERT owed a fiduciary duty to plaintiff ESPIRE ADS LLC, which defendant JUSTIN

EMERT breached by acting in bad faith and adversely toward the interests of plaintiff ESPIRE

ADS LLC, and engaging in misconduct by: (A) actively engaging in situations of self-dealing

and/or personal conflicts of interest; (B) actively injuring or acting contrary to the interests of

plaintiff ESPIRE ADS LLC; (C) actively acting in a manner inconsistent with that of an agent of

plaintiff ESPIRE ADS LLC; (D) failing to disclose defendant JUSTIN EMERT’s contrary interests

which would naturally influence his conduct in dealing with plaintiff ESPIRE ADS LLC as they

relate to defendant TAPP INFLUENCERS CORP.; and (E) obtaining opportunities to make

personal profits or advantageous arrangements because of his position with defendant TAPP

INFLUENCERS CORP. without passing on these advantages to plaintiff ESPIRE ADS LLC.

       128.    As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged in an amount to be determined at trial of the instant matter, wherefore it is entitled

to damages comprised of actual loss, injunctive relief, compensatory damages, consequential

damages, incidental damages, reliance damages, expectation damages, lost profits, costs,

disbursements, attorneys’ fees, and pre-judgment interest thereon, as well as an award of

indemnification for all of plaintiff ESPIRE ADS LLC’s losses, costs, fees, liabilities, expenses,

and attorneys’ fees incurred in connection with this matter.

                                          COUNT XV
                        (Tortious Interference against JUSTIN EMERT)

       129.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       130.    By virtue of the foregoing, defendant JUSTIN EMERT had knowledge of plaintiff



                                                  30
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 31 of 64




ESPIRE ADS LLC’s existing contracts with employees and contractors, as well as existing clients

and influencers, wherefore defendant JUSTIN EMERT, without reasonable justification or excuse,

induced plaintiff ESPIRE ADS LLC’s said existing employees, contractors, clients, and

influencers to breach said contracts.

       131.    By virtue of the foregoing, under the unfettered access granted to defendant

JUSTIN EMERT under the July 26th, 2017 amended and restated operating agreement, defendant

JUSTIN EMERT had knowledge of the non-competition, non-solicitation, and nondisclosure

provisions of plaintiff ESPIRE ADS LLC’s contracts with, inter alia, employees, contractors,

vendors, clients, and influencers, and notwithstanding, tortiously induced a breach thereof for the

explicit purpose of competition with plaintiff ESPIRE ADS LLC, solicitation of plaintiff ESPIRE

ADS LLC’s clients and influencers, and disclosure of plaintiff ESPIRE ADS LLC’s trade secrets.

       132.    Moreover, by virtue of the foregoing, defendant JUSTIN EMERT acted with the

sole purpose of harming plaintiff ESPIRE ADS LLC and/or used dishonest, unfair, or improper

means to injure the business relationships of plaintiff ESPIRE ADS LLC.

       133.    As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged in an amount to be determined at trial of the instant matter, wherefore it is entitled

to damages comprised of actual loss, injunctive relief, compensatory damages, consequential

damages, incidental damages, reliance damages, expectation damages, lost profits, costs,

disbursements, attorneys’ fees, and pre-judgment interest thereon, as well as an award of

indemnification for all of plaintiff ESPIRE ADS LLC’s losses, costs, fees, liabilities, expenses,

and attorneys’ fees incurred in connection with this matter.

                                        COUNT XVI
                     (Breach of Contract against BRENNAN KASTNER)

       134.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all



                                                 31
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 32 of 64




paragraphs heretofore as if fully set forth herein.

       135.    By virtue of the foregoing, the May 18th, 2020 independent contractor agreement is

a legally valid and binding contract by and amongst defendant BRENNAN KASTNER and

plaintiff ESPIRE ADS LLC, binding defendant BRENNAN KASTNER to restrictive covenants,

including, inter alia, non-competition with plaintiff ESPIRE ADS LLC, non-solicitation of

plaintiff ESPIRE ADS LLC’s clients, influencers, and business prospects, and confidentiality, as

to plaintiff ESPIRE ADS LLC’s proprietary confidential information and trade secrets.

       136.    Moreover, the May 18th, 2020 independent contractor agreement was of a “work-

made-for-hire” nature – rendering plaintiff ESPIRE ADS LLC’s source code and other such

software the exclusive intellectual property of plaintiff ESPIRE ADS LLC – whereupon defendant

BRENNAN KASTNER nevertheless breached the May 18th, 2020 independent contractor

agreement by converting plaintiff ESPIRE ADS LLC’s mobile and desktop application source

code, delivering it to defendant TAPP INFLUENCERS CORP.

       137.    By virtue of the foregoing, defendant BRENNAN KASTNER breached and/or

otherwise failed to perform the May 18th, 2020 independent contractor agreement, notwithstanding

plaintiff ESPIRE ADS LLC’s performance in-full.

       138.    Moreover, defendant BRENNAN KASTNER agreed to indemnify plaintiff

ESPIRE ADS LLC for all actual and direct losses suffered, including lost profits, cost, expenses,

and/or attorneys’ fees by reason of any lawsuit arising from defendant BRENNAN KASTNER’s

breach of the May 18th, 2020 independent contractor agreement.

       139.    As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged in an amount to be determined at trial of the instant matter, wherefore it is entitled

to damages comprised of actual loss, injunctive relief, compensatory damages, consequential

damages, incidental damages, reliance damages, expectation damages, lost profits, costs,

                                                  32
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 33 of 64




disbursements, attorneys’ fees, and pre-judgment interest thereon, as well as an award of

indemnification for all of plaintiff ESPIRE ADS LLC’s losses, costs, fees, liabilities, expenses,

and attorneys’ fees incurred in connection with this matter.

                                    COUNT XVII
(Breach of Implied Covenant of Good Faith & Fair Dealing against BRENNAN KASTNER)

       140.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       141.    By virtue of the foregoing, defendant BRENNAN KASTNER has deliberately

acted in a manner not expressly forbidden by the May 18th, 2020 independent contractor agreement

to deprive plaintiff ESPIRE ADS LLC of the benefits of the May 18th, 2020 independent contractor

agreement, to prevent performance under the May 18th, 2020 independent contractor agreement,

and/or to withhold the benefits of the May 18th, 2020 independent contractor agreement from

plaintiff ESPIRE ADS LLC.

       142.    As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged in an amount to be determined at trial of the instant matter, wherefore it is entitled

to damages comprised of actual loss, injunctive relief, compensatory damages, consequential

damages, incidental damages, reliance damages, expectation damages, lost profits, costs,

disbursements, attorneys’ fees, and pre-judgment interest thereon, as well as an award of

indemnification for all of plaintiff ESPIRE ADS LLC’s losses, costs, fees, liabilities, expenses,

and attorneys’ fees incurred in connection with this matter.

                                       COUNT XVIII
                  (Breach of Fiduciary Duty against BRENNAN KASTNER)

       143.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       144.    By virtue of the foregoing, while working at plaintiff ESPIRE ADS LLC, defendant

                                                  33
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 34 of 64




BRENNAN KASTNER owed a fiduciary duty to plaintiff ESPIRE ADS LLC, which defendant

BRENNAN KASTNER breached by acting in bad faith and adversely toward the interests of

plaintiff ESPIRE ADS LLC, and engaging in misconduct by: (A) actively engaging in situations

of self-dealing and/or personal conflicts of interest; (B) actively injuring or acting contrary to the

interests of plaintiff ESPIRE ADS LLC; (C) actively acting in a manner inconsistent with that of

an agent of plaintiff ESPIRE ADS LLC; (D) failing to disclose defendant BRENNAN

KASTNER’s contrary interests which would naturally influence his conduct in dealing with

plaintiff ESPIRE ADS LLC as they relate to defendant TAPP INFLUENCERS CORP.; and (E)

obtaining opportunities to make personal profits or advantageous arrangements because of his

position with defendant TAPP INFLUENCERS CORP. without passing on these advantages to

plaintiff ESPIRE ADS LLC.

       145.    As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged in an amount to be determined at trial of the instant matter, wherefore it is entitled

to damages comprised of actual loss, injunctive relief, compensatory damages, consequential

damages, incidental damages, reliance damages, expectation damages, lost profits, costs,

disbursements, attorneys’ fees, and pre-judgment interest thereon, as well as an award of

indemnification for all of plaintiff ESPIRE ADS LLC’s losses, costs, fees, liabilities, expenses,

and attorneys’ fees incurred in connection with this matter.

                                         COUNT XIX
                    (Tortious Interference against BRENNAN KASTNER)

       146.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       147.    By virtue of the foregoing, defendant BRENNAN KASTNER had knowledge of

plaintiff ESPIRE ADS LLC’s existing contracts with employees and contractors, as well as



                                                  34
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 35 of 64




existing clients and influencers, wherefore defendant BRENNAN KASTNER, without reasonable

justification or excuse, induced plaintiff ESPIRE ADS LLC’s said existing employees, contractors,

clients, and influencers to breach said contracts.

       148.    By virtue of the foregoing, under the unfettered access granted to defendant

BRENNAN KASTNER under the May 18th, 2020 independent contractor agreement, defendant

BRENNAN KASTNER had knowledge of the non-competition, non-solicitation, and

nondisclosure provisions of plaintiff ESPIRE ADS LLC’s contracts with, inter alia, employees,

contractors, vendors, clients, and influencers, and notwithstanding, tortiously induced a breach

thereof for the explicit purpose of competition with plaintiff ESPIRE ADS LLC, solicitation of

plaintiff ESPIRE ADS LLC’s clients and influencers, and disclosure of plaintiff ESPIRE ADS

LLC’s trade secrets

       149.    Moreover, by virtue of the foregoing, defendant BRENNAN KASTNER acted with

the sole purpose of harming plaintiff ESPIRE ADS LLC and/or used dishonest, unfair, or improper

means to injure the business relationships of plaintiff ESPIRE ADS LLC.

       150.    As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged in an amount to be determined at trial of the instant matter, wherefore it is entitled

to damages comprised of actual loss, injunctive relief, compensatory damages, consequential

damages, incidental damages, reliance damages, expectation damages, lost profits, costs,

disbursements, attorneys’ fees, and pre-judgment interest thereon, as well as an award of

indemnification for all of plaintiff ESPIRE ADS LLC’s losses, costs, fees, liabilities, expenses,

and attorneys’ fees incurred in connection with this matter.

                                        COUNT XX
                   (CFAA Violation against TAPP INFLUENCERS CORP.)
                                    [18 U.S.C. § 1030(g)]

       151.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

                                                 35
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 36 of 64




paragraphs heretofore as if fully set forth herein.

       152.    By virtue of the foregoing, defendant TAPP INFLUENCERS CORP. violated the

CFAA causing damages and loss in a one-year period in gross excess of five thousand USD

($5,000.00) to plaintiff ESPIRE ADS LLC and plaintiff LISA NAVARRO by: (A) intentionally

accessing plaintiff ESPIRE ADS LLC’s protected computer utilized in interstate commerce

without authorization and obtaining information, including plaintiff ESPIRE ADS LLC’s trade

secrets, source code, and other such compilations from said protected computer in violation of 18

U.S.C. § 1030(a)(2)(c); (B) knowingly and with the intent to defraud, accessing plaintiff ESPIRE

ADS LLC’s protected computer utilized in interstate commerce without authorization to further a

fraud and/or obtain items of value, including plaintiff ESPIRE ADS LLC’s trade secrets, source

code, and other such compilations from said protected computer in violation of 18 U.S.C. §

1030(a)(4); and/or (C) knowingly and intentionally causing the transmission of plaintiff ESPIRE

ADS LLC’s trade secrets, source code, and other such compilations from said protected computer

utilized in interstate commerce without authorization in violation of 18 U.S.C. § 1030(a)(5)(A).

       153.    As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged in an amount to be determined at trial of the instant matter, whereupon plaintiff

ESPIRE ADS LLC is entitled to economic damages, injunctive relief, and all other such equitable

relief pursuant to 18 U.S.C. §§ 1030(c), et seq. and 18 U.S.C. § 1030(g), as well as an award of all

costs, disbursements, attorneys’ fees, and pre-judgment interest thereon.

                                        COUNT XXI
                        (CFAA Violation against STEVEN FORKOSH)
                                    [18 U.S.C. § 1030(g)]

       154.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       155.    By virtue of the foregoing, defendant STEVEN FORKOSH violated the CFAA

                                                  36
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 37 of 64




causing damages and loss in a one-year period in gross excess of five thousand USD ($5,000.00)

to plaintiff ESPIRE ADS LLC and plaintiff LISA NAVARRO by: (A) intentionally accessing

plaintiff ESPIRE ADS LLC’s protected computer utilized in interstate commerce without

authorization or by exceeding authorized access and obtaining information, including plaintiff

ESPIRE ADS LLC’s trade secrets, source code, and other such compilations from said protected

computer in violation of 18 U.S.C. § 1030(a)(2)(c); (B) knowingly and with the intent to defraud,

accessing plaintiff ESPIRE ADS LLC’s protected computer utilized in interstate commerce

without authorization or by exceeding authorized access to further a fraud and/or obtain items of

value, including plaintiff ESPIRE ADS LLC’s trade secrets, source code, and other such

compilations from said protected computer in violation of 18 U.S.C. § 1030(a)(4); and/or (C)

knowingly and intentionally causing the transmission of plaintiff ESPIRE ADS LLC’s trade

secrets, source code, and other such compilations from said protected computer utilized in

interstate commerce without authorization in violation of 18 U.S.C. § 1030(a)(5)(A).

       156.    As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged in an amount to be determined at trial of the instant matter, whereupon plaintiff

ESPIRE ADS LLC is entitled to economic damages, injunctive relief, and all other such equitable

relief pursuant to 18 U.S.C. §§ 1030(c), et seq. and 18 U.S.C. § 1030(g), as well as an award of all

costs, disbursements, attorneys’ fees, and pre-judgment interest thereon.

                                        COUNT XXII
                           (CFAA Violation against JUSTIN EMERT)
                                    [18 U.S.C. § 1030(g)]

       157.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       158.    By virtue of the foregoing, defendant JUSTIN EMERT violated the CFAA causing

damages and loss in a one-year period in gross excess of five thousand USD ($5,000.00) to plaintiff

                                                  37
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 38 of 64




ESPIRE ADS LLC and plaintiff LISA NAVARRO by: (A) intentionally accessing plaintiff

ESPIRE ADS LLC’s protected computer utilized in interstate commerce without authorization or

by exceeding authorized access and obtaining information, including plaintiff ESPIRE ADS LLC’s

trade secrets, source code, and other such compilations from said protected computer in violation

of 18 U.S.C. § 1030(a)(2)(c); (B) knowingly and with the intent to defraud, accessing plaintiff

ESPIRE ADS LLC’s protected computer utilized in interstate commerce without authorization or

by exceeding authorized access to further a fraud and/or obtain items of value, including plaintiff

ESPIRE ADS LLC’s trade secrets, source code, and other such compilations from said protected

computer in violation of 18 U.S.C. § 1030(a)(4); and/or (C) knowingly and intentionally causing

the transmission of plaintiff ESPIRE ADS LLC’s trade secrets, source code, and other such

compilations from said protected computer utilized in interstate commerce without authorization

in violation of 18 U.S.C. § 1030(a)(5)(A).

       159.    As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged in an amount to be determined at trial of the instant matter, whereupon plaintiff

ESPIRE ADS LLC is entitled to economic damages, injunctive relief, and all other such equitable

relief pursuant to 18 U.S.C. §§ 1030(c), et seq. and 18 U.S.C. § 1030(g), as well as an award of all

costs, disbursements, attorneys’ fees, and pre-judgment interest thereon.

                                       COUNT XXIII
                       (CFAA Violation against BRENNAN KASTNER)
                                    [18 U.S.C. § 1030(g)]

       160.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       161.    By virtue of the foregoing, defendant BRENNAN KASTNER violated the CFAA

causing damages and loss in a one-year period in gross excess of five thousand USD ($5,000.00)

to plaintiff ESPIRE ADS LLC and plaintiff LISA NAVARRO by: (A) intentionally accessing

                                                  38
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 39 of 64




plaintiff ESPIRE ADS LLC’s protected computer utilized in interstate commerce without

authorization or by exceeding authorized access and obtaining information, including plaintiff

ESPIRE ADS LLC’s trade secrets, source code, and other such compilations from said protected

computer in violation of 18 U.S.C. § 1030(a)(2)(c); (B) knowingly and with the intent to defraud,

accessing plaintiff ESPIRE ADS LLC’s protected computer utilized in interstate commerce

without authorization or by exceeding authorized access to further a fraud and/or obtain items of

value, including plaintiff ESPIRE ADS LLC’s trade secrets, source code, and other such

compilations from said protected computer in violation of 18 U.S.C. § 1030(a)(4); and/or (C)

knowingly and intentionally causing the transmission of plaintiff ESPIRE ADS LLC’s trade

secrets, source code, and other such compilations from said protected computer utilized in

interstate commerce without authorization in violation of 18 U.S.C. § 1030(a)(5)(A).

       162.    As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged in an amount to be determined at trial of the instant matter, whereupon plaintiff

ESPIRE ADS LLC is entitled to economic damages, injunctive relief, and all other such equitable

relief pursuant to 18 U.S.C. §§ 1030(c), et seq. and 18 U.S.C. § 1030(g), as well as an award of all

costs, disbursements, attorneys’ fees, and pre-judgment interest thereon.

                                       COUNT XXIV
                     (Conspiracy to Violate CFAA against All Defendants)
                                    [18 U.S.C. § 1030(b)]

       163.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       164.    By virtue of the foregoing, defendant TAPP INFLUENCERS CORP., defendant

STEVEN FORKOSH, defendant JUSTIN EMERT, and defendant BRENNAN KASTNER

conspired to violate the CFAA and took actual steps in furtherance of such conspiracy, causing

damages and loss in a one-year period in gross excess of five thousand USD ($5,000.00) to plaintiff

                                                  39
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 40 of 64




ESPIRE ADS LLC and plaintiff LISA NAVARRO by: (A) intentionally accessing plaintiff

ESPIRE ADS LLC’s protected computer utilized in interstate commerce without authorization or

by exceeding authorized access and obtaining information, including plaintiff ESPIRE ADS LLC’s

trade secrets, source code, and other such compilations from said protected computer in violation

of 18 U.S.C. § 1030(a)(2)(c); (B) knowingly and with the intent to defraud, accessing plaintiff

ESPIRE ADS LLC’s protected computer utilized in interstate commerce without authorization or

by exceeding authorized access to further a fraud and/or obtain items of value, including plaintiff

ESPIRE ADS LLC’s trade secrets, source code, and other such compilations from said protected

computer in violation of 18 U.S.C. § 1030(a)(4); and/or (C) knowingly and intentionally causing

the transmission of plaintiff ESPIRE ADS LLC’s trade secrets, source code, and other such

compilations from said protected computer utilized in interstate commerce without authorization

in violation of 18 U.S.C. § 1030(a)(5)(A).

       165.    As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged in an amount to be determined at trial of the instant matter, whereupon plaintiff

ESPIRE ADS LLC is entitled to economic damages, injunctive relief, and all other such equitable

relief pursuant to 18 U.S.C. §§ 1030(c), et seq. and 18 U.S.C. § 1030(g), as well as an award of all

costs, disbursements, attorneys’ fees, and pre-judgment interest thereon.

                                       COUNT XXV
           (Direct Copyright Infringement against TAPP INFLUENCERS CORP.)
                                  [17 U.S.C. §§ 501, et seq.]

       166.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       167.    Plaintiff ESPIRE ADS LLC’s mobile and desktop application source code is an

original work and copyrightable subject matter under the laws of the United States.

       168.    Plaintiff ESPIRE ADS LLC has complied in all respects with 17 U.S.C. §§ 101, et

                                                  40
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 41 of 64




seq., as it is the owner of a valid registered copyright in and to plaintiff ESPIRE ADS LLC’s mobile

and desktop application source code – as it has secured the exclusive rights and privileges in and

to the copyright thereof – by the Register of Copyrights’ issuance of valid Certificates of

Registration, bearing Copyright Registration Nos. TX0009037536 & TX0009037539.

       169.    By virtue of the foregoing, defendant TAPP INFLUENCERS CORP. has infringed

and will continue to infringe plaintiff ESPIRE ADS LLC’s source code copyright by using plaintiff

ESPIRE ADS LLC’s source code to continue business operations and using plaintiff ESPIRE ADS

LLC’s source code to create derivative works without any authorization or other permission from

plaintiff ESPIRE ADS LLC.

       170.    Furthermore, by virtue of the foregoing, defendant TAPP INFLUENCERS CORP.

has infringed and will continue to infringe plaintiff ESPIRE ADS LLC’s source code copyright by

using plaintiff ESPIRE ADS LLC’s copyrighted source code to create malicious derivative

software to directly target plaintiff ESPIRE ADS LLC’s influencers and their social media posts

for repeated false platform content violations without any authorization or other permission from

plaintiff ESPIRE ADS LLC, whereupon “protection” payments from said malicious derivative

software were tendered to defendant TAPP INFLUENCERS CORP.

       171.    By virtue of the foregoing, defendant TAPP INFLUENCERS CORP.’s infringement

of plaintiff ESPIRE ADS LLC’s source code copyright has been deliberate, willful, and in utter

disregard of plaintiff ESPIRE ADS LLC’s rights, wherefore defendant TAPP INFLUENCERS

CORP. had no reason to believe that use of plaintiff ESPIRE ADS LLC’s copyright was exempt.

       172.    Upon information and belief, as a direct and proximate result of its wrongful

conduct, defendant TAPP INFLUENCERS CORP. has obtained benefits, including, but not limited

to, profits and other such payments to which defendant TAPP INFLUENCERS CORP. was not

otherwise entitled.

                                                41
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 42 of 64




       173.    Thus, as a direct and proximate result of defendant TAPP INFLUENCERS CORP.’s

wrongful conduct, plaintiff ESPIRE ADS LLC has been substantially and irreparably harmed in

an amount not readily capable of determination; unless restrained and enjoined by this Court,

defendant TAPP INFLUENCERS CORP. will cause further irreparable injury, whereupon plaintiff

ESPIRE ADS LLC is entitled to injunctive relief enjoining defendant TAPP INFLUENCERS

CORP., and all persons acting in concert or participation with it, from engaging in any further

infringement of plaintiff ESPIRE ADS LLC’s copyrighted source code.

       174.    Accordingly, plaintiff ESPIRE ADS LLC is further entitled to recover all damages

pursuant to 17 U.S.C. § 504, including actual damages, lost profits, statutory damages, and

exemplary damages doubled by statute, injunctive relief pursuant to 17 U.S.C. § 502, as well as an

award of all costs and attorneys’ fees pursuant to 17 U.S.C. § 505.

                                         COUNT XXVI
                             (Contributory Copyright Infringement)
                                    [17 U.S.C. §§ 501, et seq.]

       175.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       176.    Plaintiff ESPIRE ADS LLC’s mobile and desktop application source code is an

original work and copyrightable subject matter under the laws of the United States.

       177.    Plaintiff ESPIRE ADS LLC has complied in all respects with 17 U.S.C. §§ 101, et

seq., as it is the owner of a valid registered copyright in and to plaintiff ESPIRE ADS LLC’s mobile

and desktop application source code – as it has secured the exclusive rights and privileges in and

to the copyrights thereof – by the Register of Copyrights’ issuance of a valid Certificate of

Registration, bearing Copyright Registration Nos. TX0009037536 & TX0009037539.

       178.    By virtue of the foregoing, defendant STEVEN FORKOSH, defendant JUSTIN

EMERT, and defendant BRENNAN KASTNER, jointly and individually, provided copies or

                                                  42
           Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 43 of 64




portions of plaintiff ESPIRE ADS LLC’s copyrighted source code to third-parties – namely,

defendant TAPP INFLUENCERS CORP. – which infringed upon plaintiff ESPIRE ADS LLC’s

copyrighted sourced code by, inter alia, creating unauthorized derivative works with knowledge

of such third-parties’ infringement, and in fact, intentionally encouraged and induced such

infringing use, as well as materially contributed to said third-parties’ direct infringement by

working in concert with other to create, distribute, and/or maintain software which infringes upon

plaintiff ESPIRE ADS LLC’s copyrighted source code.

          179.   The contributory infringement of plaintiff ESPIRE ADS LLC’s copyrighted source

code by defendant STEVEN FORKOSH, defendant JUSTIN EMERT, and defendant BRENNAN

KASTNER has been deliberate, willful, and in utter disregard of plaintiff ESPIRE ADS LLC’s

rights.

          180.   Upon information and belief, defendant STEVEN FORKOSH, defendant JUSTIN

EMERT, and defendant BRENNAN KASTNER have obtained benefits, including, but not limited

to, profits and other such payments as a direct and proximate result of their wrongful conduct, to

which they were not otherwise entitled.

          181.   Thus, as a direct and proximate result of the wrongful conduct of defendant

STEVEN FORKOSH, defendant JUSTIN EMERT, and defendant BRENNAN KASTNER,

plaintiff ESPIRE ADS LLC has been substantially and irreparably harmed in an amount not readily

capable of determination; unless restrained and enjoined by this Court, defendant STEVEN

FORKOSH, defendant JUSTIN EMERT, and defendant BRENNAN KASTNER will cause further

irreparable injury, whereupon plaintiff ESPIRE ADS LLC is entitled to injunctive relief enjoining

defendant STEVEN FORKOSH, defendant JUSTIN EMERT, and defendant BRENNAN

KASTNER, from engaging in any further contributory infringement of plaintiff ESPIRE ADS

LLC’s copyrighted source code.

                                               43
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 44 of 64




       182.    Accordingly, plaintiff ESPIRE ADS LLC is further entitled to recover all damages

pursuant to 17 U.S.C. § 504, including actual damages, lost profits, statutory damages, and

exemplary damages doubled by statute, injunctive relief pursuant to 17 U.S.C. § 502, as well as an

award of all costs and attorneys’ fees pursuant to 17 U.S.C. § 505.

                                        COUNT XXVII
                    (Restraint of Trade: Sherman Anti-Trust Act Violation)
                                         [15 U.S.C. § 1]

       183.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       184.    By virtue of the foregoing, in violation of 15 U.S.C. § 1, defendant TAPP

INFLUENCERS CORP., defendant STEVEN FORKOSH, defendant JUSTIN EMERT, and

defendant BRENNAN KASTNER, individually and through other presently unknown agents,

have engaged in and conspired to restrain trade through concerted action affecting interstate

commerce by engaging in a malicious course of conduct and/or unleashing software directly

targeting plaintiff ESPIRE ADS LLC’s influencers and their social media posts, as well as targeting

other such influencers not related to plaintiff ESPIRE ADS LLC, for repeated false social media

platform content violations, which adversely affects competition in the emerging industry of

influencer marketing by reducing the supply of viable influencer marketing agencies, resulting in

less influencer marketing agency options for such third-party influencers, thereby resulting in

lower influencer wages payable by defendant TAPP INFLUENCERS CORP. by virtue of reduced

market competition for such third-party influencers.

       185.    As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged and suffered an anti-trust injury in-fact by said anti-competitive conduct preventing

third-party influencers from using plaintiff ESPIRE ADS LLC’s platform.

       186.    As such, plaintiff ESPIRE ADS LLC is entitled to damages against defendant TAPP

                                                  44
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 45 of 64




INFLUENCERS CORP., defendant STEVEN FORKOSH, defendant JUSTIN EMERT, and

defendant BRENNAN KASTNER, trebled pursuant to 15 U.S.C. § 15(a), pre-judgment interest

thereon, statutory damages pursuant to 15 U.S.C. § 1, all injunctive relief authorized under 15

U.S.C. § 26, and an award of all costs and attorneys’ fees authorized under 15 U.S.C. § 26.

                                        COUNT XXVIII
                          (Restraint of Trade: Donnelly Act Violation)
                                    [GBL §§ 340-41, et seq.]

       187.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       188.    By virtue of the foregoing, in violation of GBL § 340(1), defendant TAPP

INFLUENCERS CORP., defendant STEVEN FORKOSH, defendant JUSTIN EMERT, and

defendant BRENNAN KASTNER, individually and through other presently unknown agents,

have engaged in and conspired to restrain trade through concerted action affecting intrastate

commerce by engaging in a malicious course of conduct and/or unleashing software directly

targeting plaintiff ESPIRE ADS LLC’s influencers and their social media posts for repeated false

social media platform content violations, as well as targeting other such influencers not related to

plaintiff ESPIRE ADS LLC, for repeated false social media platform content violations, which

adversely affects competition in the emerging industry of influencer marketing by reducing the

supply of viable influencer marketing agencies, resulting in less influencer marketing agency

options for such third-party influencers, thereby resulting in lower influencer wages payable by

defendant TAPP INFLUENCERS CORP. by virtue of reduced market competition for such third-

party influencers.

       189.    As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC has

been damaged and suffered an anti-trust injury in-fact by said anti-competitive conduct preventing

third-party influencers from using plaintiff ESPIRE ADS LLC’s platform.

                                                  45
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 46 of 64




        190.     As such, plaintiff ESPIRE ADS LLC is entitled to damages against defendant TAPP

INFLUENCERS CORP., defendant STEVEN FORKOSH, defendant JUSTIN EMERT, and

defendant BRENNAN KASTNER, trebled pursuant to GBL § 340(5), pre-judgment interest

thereon, statutory penalties pursuant to GBL § 341, and an award of all costs and attorneys’ fees,

all statutory fines pursuant to GBL § 340(5).

                                          COUNT XXIX
               (Violation of the Racketeer Influenced & Corrupt Organizations Act)
                                     [18 U.S.C. §§ 1962(a)-(d)]

        191.     Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

        192.     By virtue of the foregoing, each of defendant TAPP INFLUENCERS CORP.,

defendant STEVEN FORKOSH, defendant JUSTIN EMERT, and defendant BRENNAN

KASTNER, jointly and individually (the “RICO Enterprise”), have intentionally engaged in a

pattern of racketeering activity as defined under 18 U.S.C. § 1961(1)(C) by, inter alia, both

conspiring to and perfecting an actual obstruction and restraint of interstate commerce by

extortionate means in violation of the Hobbs Act under 18 U.S.C. § 1951 in demanding and

receiving payments from plaintiff ESPIRE ADS LLC’s influencers with their consent by wrongful

use of actual or threatened force and fear under color of official right in directly targeting plaintiff

ESPIRE ADS LLC’s influencers and their social media posts for repeated false social media

platform content violations in furtherance of a plan to coerce and divert such influencers away

from plaintiff ESPIRE ADS LLC’s platform and towards defendant TAPP INFLUENCERS

CORP.’s platform.

        193.     Likewise, by virtue of the foregoing, each of defendant TAPP INFLUENCERS

CORP., defendant STEVEN FORKOSH, defendant JUSTIN EMERT, and defendant BRENNAN

KASTNER, jointly and individually, have intentionally engaged in a pattern of racketeering

                                                   46
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 47 of 64




activity as defined under 18 U.S.C. § 1961(1)(C) by, inter alia, engaging in wire fraud in violation

of 18 U.S.C. § 1343 by obtaining plaintiff ESPIRE ADS LLC’s intellectual property, trade secrets,

funds, influencers, and other such users of their platform through a scheme to defraud using various

instrumentalities of interstate commerce – namely, the internet, mobile devices with broadband

capabilities, and desktop computers connected to the internet – to continuously cause loss to

plaintiff ESPIRE ADS LLC by unlawfully accessing and causing damage to plaintiff ESPIRE ADS

LLC’s protected computers utilized in interstate commerce.

        194.    Likewise, by virtue of the foregoing, each of defendant TAPP INFLUENCERS

CORP., defendant STEVEN FORKOSH, defendant JUSTIN EMERT, and defendant BRENNAN

KASTNER, jointly and individually, have intentionally engaged in a pattern of racketeering

activity as defined under 18 U.S.C. § 1961(1)(C) by, inter alia, committing theft of trade secrets

in violation of 18 U.S.C. 1832, as well as engaging in unfair competition, tortious interference,

copyright infringement, and other such anti-competitive conduct.

        195.    By virtue of the foregoing, the RICO Enterprise is comprised of an association-in-

fact of each of defendant TAPP INFLUENCERS CORP., defendant STEVEN FORKOSH,

defendant JUSTIN EMERT, and defendant BRENNAN KASTNER functioning as a common unit

distinct from the pattern of racketeering activity, as in the absence of selling a protection racket

and violating federal laws concerning trade secret espionage, computer hacking, and copyright, as

well as in the absence of their violation of restrictive covenants with plaintiff ESPIRE ADS LLC,

the marketing and promotional activities of defendant TAPP INFLUENCERS CORP. conducted

by and through corporate officers, employees, and agents – defendant STEVEN FORKOSH,

defendant JUSTIN EMERT, and defendant BRENNAN KASTNER – are otherwise legitimate

business activities.

        196.    By virtue of the foregoing, within the last ten (10) years, the RICO Enterprise has

                                                47
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 48 of 64




engaged in a pattern of racketeering activity of both a closed-ended continuity and an open-ended

continuity wherefore the RICO Enterprise threatens to continue the criminal activity extending

indefinitely into future years beyond the period when the predicate acts were performed with

respect to the RICO Enterprise’s continued protection racket sale to plaintiff ESPIRE ADS LLC’s

influencers.

       197.    By virtue of the foregoing, in violation of 18 U.S.C. § 1962(a), each of defendant

TAPP INFLUENCERS CORP., defendant STEVEN FORKOSH, defendant JUSTIN EMERT, and

defendant BRENNAN KASTNER, jointly and individually, have generated revenue from the

RICO Enterprise, whereupon such revenue was utilized to open and fund the growth and continued

operation of defendant TAPP INFLUENCERS CORP., affecting interstate commerce.

       198.    By virtue of the foregoing, in violation of 18 U.S.C. § 1962(b), each of defendant

TAPP INFLUENCERS CORP., defendant STEVEN FORKOSH, defendant JUSTIN EMERT, and

defendant BRENNAN KASTNER, jointly and individually, have collected unlawful debt for the

RICO Enterprise to maintain control of defendant TAPP INFLUENCERS CORP. by and through

demanding and receiving digital “mafia-style” protection money from plaintiff ESPIRE ADS

LLC’s influencers through the RICO Enterprise’s malicious course of conduct and/or software

directly targeting plaintiff ESPIRE ADS LLC’s influencers and their social media posts for

repeated false platform content violations, affecting interstate commerce.

       199.    By virtue of the foregoing, in violation of 18 U.S.C. § 1962(c), each of defendant

TAPP INFLUENCERS CORP., defendant STEVEN FORKOSH, defendant JUSTIN EMERT, and

defendant BRENNAN KASTNER, jointly and individually, have operated, conducted,

participated in, and/or had some part in directing the RICO Enterprise’s affairs, affecting interstate

commerce.

       200.    By virtue of the foregoing, in violation of 18 U.S.C. § 1962(d), each of defendant

                                                 48
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 49 of 64




TAPP INFLUENCERS CORP., defendant STEVEN FORKOSH, defendant JUSTIN EMERT, and

defendant BRENNAN KASTNER, jointly and individually, have intentionally conspired and

taken overt acts in furtherance of violating 18 U.S.C. §§ 1962(a)-(c) by words or actions

manifesting an agreement to commit two predicate acts in furtherance of the common purpose of

the RICO Enterprise.

       201.    As a direct and proximate result of the foregoing, plaintiff ESPIRE ADS LLC and

plaintiff LISA NAVARRO were reasonably and foreseeably damaged and will continue to sustain

damages to their business and property by reason of the RICO Enterprise’s heretofore-described

conduct, including financial harm, economic loss, and loss of goodwill.

       202.    As such, plaintiff ESPIRE ADS LLC is entitled to recover all damages pursuant to

18 U.S.C. § 1964(c) against the RICO Enterprise – defendant TAPP INFLUENCERS CORP.,

defendant STEVEN FORKOSH, defendant JUSTIN EMERT, and defendant BRENNAN

KASTNER – trebled by statute, as well as pre-judgment interest thereon, and an award of all costs

and attorneys’ fees.

                                         COUNT XXX
                                     (Permanent Injunction)

       203.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       204.    By virtue of the foregoing, defendant TAPP INFLUENCERS CORP., defendant

STEVEN FORKOSH, defendant JUSTIN EMERT, and defendant BRENNAN KASTNER, jointly

and individually, have inflicted, and continue to inflict imminent irreparable harm upon plaintiff

ESPIRE ADS LLC for which damages are an inadequate remedy as a result of their violations of

myriad federal laws, including, inter alia, trade secret misappropriation, racketeering, wire fraud,

computer hacking, copyright infringement, unfair competition, tortious interference, and breaches



                                                  49
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 50 of 64




of their non-competition, non-solicitation, and non-disclosure restrictive covenants.

       205.    By virtue of the foregoing, injunctive relief is specifically authorized under 18

U.S.C. § 1836(b)(3)(A) upon a violation of the “Defend Trade Secrets Act”, under 18 U.S.C. §

1964(a) upon a violation of the “Racketeer Influenced & Corrupt Organizations Act”, under 18

U.S.C. § 1030(g) upon a violation of the “Computer Fraud & Abuse Act”, under 17 U.S.C. § 502

upon a violation of the “Copyright Act”, and under 15 U.S.C. § 26 upon a violation of the “Sherman

Anti-Trust Act”.

       206.    Likewise, paragraphs 11(a)-(d) of the JV Agreement contains restrictive covenants

precluding defendant STEVEN FORKOSH from, inter alia, solicitation of plaintiff ESPIRE ADS

LLC’s existing business, customers, employees, contractors, as well as disclosure of plaintiff

ESPIRE ADS LLC’s trade secrets and other such confidential information acquired throughout the

pendency of the JV Agreement, as well as competition with plaintiff ESPIRE ADS LLC and/or

possession of any ownership interest in competing businesses to plaintiff ESPIRE ADS LLC, all

of which defendant STEVEN FORKOSH has breached.

       207.    Likewise, paragraph 10.1, 10.2, and 10.4 of plaintiff ESPIRE ADS LLC’s July 26th,

2017 amended and restated operating agreement, contains restrictive covenants precluding

defendant JUSTIN EMERT from, inter alia, solicitation of plaintiff ESPIRE ADS LLC’s existing

business, customers, employees, contractors, as well as disclosure of plaintiff ESPIRE ADS LLC’s

trade secrets and other such confidential information acquired, as well as competition with plaintiff

ESPIRE ADS LLC, all of which defendant JUSTIN EMERT has breached.

       208.    Likewise, paragraphs 3.4 through 3.5 of the “Independent Contractor Agreement”

dated May 18th, 2018 contains restrictive covenants precluding defendant BRENNAN KASTNER

from, inter alia, solicitation of plaintiff ESPIRE ADS LLC’s existing business, customers,

employees, contractors, as well as disclosure of plaintiff ESPIRE ADS LLC’s trade secrets and

                                                 50
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 51 of 64




other such confidential information acquired, as well as competition with plaintiff ESPIRE ADS

LLC, all of which defendant BRENNAN KASTNER has breached. Moreover, under paragraph

3.6 of the “Independent Contractor Agreement” dated May 18th, 2018, defendant BRENNAN

KASTNER consented to injunctive relief upon his breach of paragraphs 3.4 through 3.5 thereof.

       209.    By virtue of the foregoing, plaintiff ESPIRE ADS LLC has no adequate remedy at

law, as money damages will not serve to prospectively prevent the heretofore-plead violations.

       210.    By virtue of the foregoing, plaintiff ESPIRE ADS LLC is likely to succeed on the

merits of their statutory and common law claims against defendant TAPP INFLUENCERS CORP.,

defendant STEVEN FORKOSH, defendant JUSTIN EMERT, and defendant BRENNAN

KASTNER jointly and individually, wherefore the balance of the equities tips decidedly in favor

of the issuance of injunctive relief.

       211.    By virtue of the foregoing, plaintiff ESPIRE ADS LLC is entitled to an injunction,

permanently restraining and enjoining defendant TAPP INFLUENCERS CORP., defendant

STEVEN FORKOSH, defendant JUSTIN EMERT, and defendant BRENNAN KASTNER, and

all persons and entities acting in concert with them, from using plaintiff ESPIRE ADS LLC’s

source code, information, and other such business compilations, including client lists and

influencer lists, as well as from continued solicitation, disclosure, competition, and circumvention

of their respective restrictive covenants.

                                             COUNT XXXI
                                        (Fraudulent Conveyance)
                                          [DCL §§ 270, et seq.]

       212.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       213.    Upon information and belief, by virtue of the foregoing, in violation of New York’s

Debtor & Creditor Law (“DCL”) § 273(a). sometime in the Fall of 2020, after incorporating

                                                  51
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 52 of 64




defendant TAPP INFLUENCERS CORP., defendant STEVEN FORKOSH – an insider of both

defendant THE BLU MARKET, INC. and defendant THE BLU MARKET LLC (jointly, “Blu”) –

conveyed, transferred, and/or assigned all of substantially all of Blu’s business assets to defendant

TAPP INFLUENCERS CORP. wherefore defendant STEVEN FORKOSH retained possession or

control of Blu’s business assets after the transfer through defendant TAPP INFLUENCERS CORP.

(the “Fraudulent Conveyance”) in a manner concealed or not disclosed to plaintiff LISA

NAVARRO, with actual intent to hinder, delay, and/or defraud plaintiff LISA NAVARRO, thereby

depriving plaintiff LISA NAVARRO of the benefits of the JV Agreement.

       214.    Upon information and belief, in violation of DCL § 273(a), in undertaking the

Fraudulent Conveyance to defendant TAPP INFLUENCERS CORP., neither Blu nor defendant

STEVEN FORKOSH received equivalent value for Blu’s business assets, rendering Blu insolvent

and/or Blu’s assets unreasonably small, wherefore defendant STEVEN FORKOSH intended to

incur, or reasonably should have believed that the Blu defendants would incur debts beyond their

ability to pay, specifically including the liability to plaintiff LISA NAVARRO inuring from the

Fraudulent Conveyance and breach of the JV Agreement.

       215.    Thus, defendant TAPP INFLUENCERS CORP. was not a good faith purchaser or

transferee for fair value of Blu’s business assets, whereas neither Blu nor defendant STEVEN

FORKOSH were good faith transferors for fair value of Blu’s busines assets.

       216.    Upon information and belief, despite plaintiff LISA NAVARRO’s status as a fifty-

percent (50%) equity partner of Blu, no vote was ever held authorizing the Fraudulent Conveyance

of the Blu’s business assets to defendant TAPP INFLUENCERS CORP., nor did plaintiff LISA

NAVARRO authorize the Fraudulent Conveyance of Blu’s business assets thereto.

       217.    As a direct and proximate result of the foregoing, including, inter alia, defendant

STEVEN FORKOSH’s various frauds propagated under the JV Agreement, as well defendant

                                                 52
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 53 of 64




STEVEN FORKOSH’s trade secret misappropriation and racketeering conduct, plaintiff LISA

NAVARRO have been irreparably damaged in an amount not readily capable of calculation

whereupon money damages would be an inadequate remedy.

       218.    By virtue of the foregoing, plaintiff LISA NAVARRO has no adequate remedy at

law, as damages are an insufficient remedy.

       219.    Upon information and belief, defendant STEVEN FORKOSH and defendant TAPP

INFLUENCERS CORP. has taken and will continue undertaking a materially adverse position to

each of the foregoing, thereby resulting in the existence of an actual and justiciable controversy

regarding the foregoing.

       220.    By virtue of the foregoing, in equity, plaintiff LISA NAVARRO is entitled to a

judgment, pursuant to DCL § 276(a)(3)(iii) – vesting this Court with the authority “subject to

applicable principles of equity”, to grant “any other relief the circumstances may require” –

adjudicating and declaring that fifty-percent (50%) of defendant STEVEN FORKOSH’s interest

in defendant TAPP INFLUENCERS CORP. is the lawful property of plaintiff LISA NAVARRO,

as well as an award, pursuant to DCL § 276-a, of all costs and attorneys’ fees incurred.

                                     COUNT XXXII
  (Breach of Fiduciary Duty: Blu ex rel. LISA NAVARRO against STEVEN FORKOSH)

       221.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       222.    As a result of defendant STEVEN FORKOSH’s capacity as a director, executive

officer, and managing member of Blu, defendant STEVEN FORKOSH owes fiduciary obligation

to Blu and Blu’s remaining equity holders; namely, plaintiff LISA NAVARRO by virtue of her

fifty-percent (50%) equity stake in Blu accorded under the JV Agreement.

       223.    By virtue of the foregoing, including the Fraudulent Conveyance, defendant



                                                  53
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 54 of 64




STEVEN FORKOSH breached his fiduciary obligation to Blu and Blu’s remaining equity holders,

as neither Blu nor defendant STEVEN FORKOSH received equivalent value for Blu’s business

assets, rendering Blu insolvent and/or Blu’s remaining assets unreasonably small.

       224.    Additionally, in undertaking the Fraudulent Conveyance, defendant STEVEN

FORKOSH breached his fiduciary obligations owed to Blu and Blu’s remaining equity holders by:

(A) actively engaging in situations of self-dealing and/or personal conflicts of interest; (B) actively

injuring or acting contrary to the interests of Blu; (C) actively acting in a manner inconsistent with

that of an agent of Blu; (D) failing to disclose defendant STEVEN FORKOSH’s contrary interests

which would naturally influence his conduct in dealing with Blu as they relate to defendant TAPP

INFLUENCERS CORP.; and (E) obtaining opportunities to make personal profits or advantageous

arrangements because of his position with defendant TAPP INFLUENCERS CORP. without

passing on these advantages to Blu.

       225.    By virtue of the foregoing, despite plaintiff LISA NAVARRO’s status as a fifty-

percent (50%) equity partner of Blu, no vote was ever held authorizing the Fraudulent Conveyance

of the Blu’s business assets to defendant TAPP INFLUENCERS CORP., nor did plaintiff LISA

NAVARRO authorize the Fraudulent Conveyance of Blu’s business assets thereto.

       226.    As a direct and proximate result of the foregoing, Blu has been damaged by

defendant STEVEN FORKOSH in an amount to be determined at trial of the instant matter.

                                      COUNT XXXIII
          (Conversion: Blu ex rel. LISA NAVARRO against STEVEN FORKOSH)

       227.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       228.    As a result of defendant STEVEN FORKOSH’s capacity as a director, executive

officer, and managing member of Blu, defendant STEVEN FORKOSH owes fiduciary obligation



                                                  54
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 55 of 64




to Blu and Blu’s remaining equity holders; namely, plaintiff LISA NAVARRO by virtue of her

fifty-percent (50%) equity stake in Blu accorded under the JV Agreement.

       229.    By virtue of the foregoing, despite plaintiff LISA NAVARRO’s status as a fifty-

percent (50%) equity partner of Blu, no vote was ever held authorizing the Fraudulent Conveyance

of the Blu’s business assets to defendant TAPP INFLUENCERS CORP., nor did plaintiff LISA

NAVARRO authorize the Fraudulent Conveyance of Blu’s business assets thereto.

       230.    By virtue of the foregoing, Blu had an immediate superior right of possession of

Blu’s business assets – in addition to plaintiff LISA NAVARRO’s immediate superior right of

possession of fifty-percent (50%) of Blu’s business assets – wherefore, despite due demand, to

date, defendant STEVEN FORKOSH exercises unauthorized dominion thereover to the exclusion

of the rights of Blu and plaintiff LISA NAVARRO.

       231.    As a direct and proximate result of the foregoing, Blu has been damaged by

defendant STEVEN FORKOSH in an amount to be determined at trial of the instant matter.

                                     COUNT XXXIV
      (Unjust Enrichment: Blu ex rel. LISA NAVARRO against STEVEN FORKOSH)

       232.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       233.    By virtue of the foregoing, despite plaintiff LISA NAVARRO’s status as a fifty-

percent (50%) equity partner of Blu, no vote was ever held authorizing the Fraudulent Conveyance

of the Blu’s business assets to defendant TAPP INFLUENCERS CORP., nor did plaintiff LISA

NAVARRO authorize the Fraudulent Conveyance of Blu’s business assets thereto.

       234.    By virtue of the foregoing, including the Fraudulent Conveyance, defendant

STEVEN FORKOSH has failed to make restitution to Blu for defendant STEVEN FORKOSH’s

Fraudulent Conveyance of Blu’s business assets, wherefore an equitable obligation exists to



                                                  55
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 56 of 64




account for the value of Blu’s business assets.

       235.    As a direct and proximate result of the foregoing, Blu has been damaged by

defendant STEVEN FORKOSH in an amount to be determined at trial of the instant matter.

                                       COUNT XXXV
                           (Accounting: Blu ex rel. LISA NAVARRO)

       236.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       237.    As a result of defendant STEVEN FORKOSH’s capacity as a director, executive

officer, and managing member of Blu, defendant STEVEN FORKOSH owes fiduciary obligation

to Blu and Blu’s remaining equity holders; namely, plaintiff LISA NAVARRO by virtue of her

fifty-percent (50%) equity stake in Blu accorded under the JV Agreement.

       238.    Thus, defendant STEVEN FORKOSH is in a relation of a mutual and confidential

nature to both Blu and plaintiff LISA NAVARRO, wherefore Blu’s business assets were entrusted

to defendant STEVEN FORKOSH imposing fiduciary obligations thereupon.

       239.    By virtue of the foregoing, despite plaintiff LISA NAVARRO’s status as a fifty-

percent (50%) equity partner of Blu, no vote was ever held authorizing the Fraudulent Conveyance

of the Blu’s business assets to defendant TAPP INFLUENCERS CORP., nor did plaintiff LISA

NAVARRO authorize the Fraudulent Conveyance of Blu’s business assets thereto.

       240.    By virtue of the Fraudulent Conveyance, defendant STEVEN FORKOSH breached

said fiduciary obligations to Blu and Blu’s remaining equity holders, as neither Blu nor defendant

STEVEN FORKOSH received equivalent value for Blu’s business assets, rendering Blu insolvent

and/or Blu’s remaining assets unreasonably small, rendering Blu’s funds missing, unaccounted for,

and/or abjectly looted by defendant STEVEN FORKOSH.

       241.    By virtue of the foregoing, neither Blu nor plaintiff LISA NAVARRO have an



                                                  56
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 57 of 64




adequate remedy at law as to ascertain the value of Blu’s current business assets, whereupon Blu

and plaintiff LISA NAVARRO are entitled to an equitable accounting.

                                      COUNT XXXVI
              (Dissolution: THE BLU MARKET LLC ex rel. LISA NAVARRO)
                           [Limited Liability Company Law § 702]

       242.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       243.    Plaintiff LISA NAVARRO is a fifty-percent (50%) equity partner of defendant THE

BLU MARKET LLC under the JV Agreement, which, upon information and belief, by virtue of

defendant STEVEN FORKOSH’s Fraudulent Conveyance, is insolvent, indebted to creditors,

inactive, and it is otherwise impracticable for defendant THE BLU MARKET LLC to carry on

business under the JV Agreement.

       244.    By virtue of the foregoing, defendant THE BLU MARKET LLC should be

judicially dissolved pursuant to New York’s Limited Liability Company Law § 702, with the

remaining assets liquidated and distributed to creditors.

                                      COUNT XXXVII
              (Dissolution: THE BLU MARKET, INC. ex rel. LISA NAVARRO)
                             [Busines Corporation Law § 1104-a]

       245.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       246.    Plaintiff LISA NAVARRO is a fifty-percent (50%) equity partner of defendant THE

BLU MARKET, INC. under the JV Agreement, which, upon information and belief, by virtue of

defendant STEVEN FORKOSH’s Fraudulent Conveyance and defendant STEVEN FORKOSH’s

other heretofore-described conduct, is insolvent, indebted to creditors, inactive, and it is otherwise

impracticable for defendant THE BLU MARKET, INC. to carry on business under the JV

Agreement, as a result of defendant STEVEN FORKOSH’s illegal, fraudulent, and oppressive

                                                  57
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 58 of 64




conduct, as well as defendant STEVEN FORKOSH’s looting, wasting, and diversion for non-

corporate purposes of defendant THE BLU MARKET, INC.’s assets.

       247.    By virtue of the foregoing, defendant THE BLU MARKET, INC. should be

judicially dissolved pursuant to New York’s Business Corporation Law § 1104-a, with the

remaining assets liquidated and distributed to creditors.

                                      COUNT XXXVIII
                               (Reformation of the JV Agreement)

       248.    Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       249.    By virtue of the foregoing, plaintiff LISA NAVARRO and plaintiff ESPIRE ADS

LLC were defrauded by defendant STEVEN FORKOSH’s material misrepresentations of fact

under the JV Agreement insofar as defendant STEVEN FORKOSH was already competing with

plaintiff ESPIRE ADS LLC via defendant TAPP INFLUENCERS CORP. prior to and throughout

the entirety of the JV Agreement, whereunder, as equal partners in the joint venture, defendant

STEVEN FORKOSH owed plaintiff LISA NAVARRO and plaintiff ESPIRE ADS LLC fiduciary

duties and, by virtue of the confidential relationship of trust imposed under the JV Agreement,

warranted plaintiff LISA NAVARRO and plaintiff ESPIRE ADS LLC to repose confidence and

justifiable reliance upon defendant STEVEN FORKOSH’s misrepresentations under the JV

Agreement’s restrictive covenants concerning non-competition, non-solicitation, and non-

disclosure, which induced plaintiff LISA NAVARRO’s and plaintiff ESPIRE ADS LLC’s assent

into the JV Agreement, damaging plaintiff LISA NAVARRO and plaintiff ESPIRE ADS LLC.

       250.    Additionally, at the time plaintiff LISA NAVARRO and plaintiff ESPIRE ADS LLC

assented to the JV Agreement, plaintiff LISA NAVARRO and plaintiff ESPIRE ADS LLC were

mistaken as to defendant STEVEN FORKOSH’s existing competition with plaintiff ESPIRE ADS



                                                  58
         Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 59 of 64




LLC, as well as defendant STEVEN FORKOSH’s existing circumvention and solicitation of

plaintiff ESPIRE ADS LLC’s existing business, and disclosure of plaintiff ESPIRE ADS LLC’s

trade secrets and other such proprietary and confidential information.

       251.     By virtue of the foregoing, neither plaintiff LISA NAVARRO nor plaintiff ESPIRE

ADS LLC have an adequate remedy at law, as damages would be entirely insufficient to

compensate for defendant STEVEN FORKOSH’s foregoing irreparable harm inflected under the

JV Agreement.

       252.     By virtue of defendant STEVEN FORKOSH’s foregoing violations of federal law

and defendant STEVEN FORKOSH’s fraudulent misrepresentations under the JV Agreement,

equity decidedly dictates that the JV Agreement should be reformed to include plaintiff LISA

NAVARRO and plaintiff ESPIRE ADS LLC as a fifty-percent (50%) owner of defendant TAPP

INFLUENCERS CORP., and to substitute defendant TAPP INFLUENCERS CORP. for defendant

THE BLU MARKET LLC and defendant THE BLU MARKET, INC.

                                      COUNT XXXIX
                 (Piercing Blu’s Corporate Veil against STEVEN FORKOSH)

       253.     Plaintiffs repeat, reiterate, and re-allege each and every allegation contained in all

paragraphs heretofore as if fully set forth herein.

       254.     By virtue of the foregoing, defendant STEVEN FORKOSH exercised complete

domination and control over defendant THE BLU MARKET LLC and defendant THE BLU

MARKET, INC., utilizing the corporate vehicle of each jointly to defraud plaintiff LISA

NAVARRO through the JV Agreement, resulting in each of defendant THE BLU MARKET LLC

and defendant THE BLU MARKET, INC. devoid of assets in anticipation of impending liability

thereagainst.

       255.     By virtue of the foregoing, plaintiff LISA NAVARRO has been damaged and



                                                  59
        Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 60 of 64




continues to sustain damages as a direct and proximate result of defendant STEVEN FORKOSH’s

utilization of defendant THE BLU MARKET LLC and defendant THE BLU MARKET, INC. to

perpetuate a fraud against plaintiff LISA NAVARRO through the JV Agreement.

       256.   By virtue of the foregoing, equity dictates that this Court disregard the corporate

form of defendant THE BLU MARKET LLC and defendant THE BLU MARKET, INC. to hold

defendant STEVEN FORKOSH personally liable for any and all damages inflicted upon plaintiff

LISA NAVARRO by and through the JV Agreement.

                                   PRAYER FOR RELIEF

       WHEREFORE, plaintiffs ESPIRE ADS LLC, THE BLU MARKET, INC. ex rel. LISA

NAVARRO, THE BLU MARKET LLC ex rel. LISA NAVARRO, and LISA NAVARRO

individually respectfully request the entry of judgment against defendants TAPP INFLUENCERS

CORP., THE BLU MARKET, INC., THE BLU MARKET LLC, STEVEN FORKOSH,

BRENNAN KASTNER, and JUSTIN EMERT as follows:

       A.     Entering judgment in favor of Plaintiffs and against Defendants on all claims at law

and/or predicated upon statutory violations for all damages suffered, including actual damages,

statutory damages, exemplary damages, compensatory damages, consequential damages,

incidental damages, reliance damages, expectation damages, and lost profits as set forth above;

       B.     Awarding Plaintiffs all costs, disbursements, attorneys’ fees, and pre-judgment

interest thereon as authorized by statute, by agreement, and/or by common law;

       C.     Granting all requested declaratory and injunctive relief on all equitable causes of

action, including a permanent injunction in equity and/or authorized statute, an equitable

accounting of defendant THE BLU MARKET, INC. and defendant THE BLU MARKET LLC

and judicial dissolution thereof, reforming the JV Agreement substituting defendant TAPP

INFLUENCERS CORP. for Blu, adjudicating and declaring that defendant STEVEN FORKOSH

                                               60
          Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 61 of 64




engaged in a fraudulent conveyance of Blu’s business assets whereupon fifty-percent (50%) of

defendant STEVEN FORKOSH’s interest in defendant TAPP INFLUENCERS CORP. is the

lawful property of plaintiff LISA NAVARRO, and piercing all corporate veils holding defendant

STEVEN FORKOSH personally liable; and

         D.    Granting such other and further relief as this Court deems just and proper.

                                DEMAND FOR JURY TRIAL

         Plaintiffs ESPIRE ADS LLC, THE BLU MARKET, INC. ex rel. LISA NAVARRO, THE

BLU MARKET LLC ex rel. LISA NAVARRO, and LISA NAVARRO individually hereby demand

a trial by jury on all issues so triable against defendants TAPP INFLUENCERS CORP., THE BLU

MARKET, INC., THE BLU MARKET LLC, STEVEN FORKOSH, BRENNAN KASTNER, and

JUSTIN EMERT.

Dated:         New York, New York
               December 6th, 2021


                                             Yours etc.,
                                             SUTTON SACHS MEYER PLLC
                                             Attorneys for Plaintiff

                                             Zachary G. Meyer, Esq.
                                             Zachary G. Meyer, Esq.
                                             14 Penn Plaza, Suite 1315
                                             New York, NY 10122
                                             t. (212) 480-4357
                                             e. Zachary@ssm.law


To:      TAPP INFLUENCERS CORP.
         400 Broome St., 11th Fl.
         New York, NY 10013
         Defendant

         THE BLU MARKET, INC.
         400 Broome St., 11th Fl.
         New York, NY 10013
         Defendant

                                                61
 Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 62 of 64




THE BLU MARKET LLC
3411 Silverside Rd., Ste. 104
Wilmington, DE 19810
Defendant

STEVEN FORKOSH
117 East 57th St., Apt. 31H
New York, NY 10022
       -and-
400 Broome St., 11th Fl.
New York, NY 10013
Defendant

BRENNAN KASTNER
400 Broome St., 11th Fl.
New York, NY 10013
Defendant

JUSTIN EMERT
400 Broome St., 11th Fl.
New York, NY 10013
Defendant




                                62
Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 63 of 64
Case 1:21-cv-10623-JGK Document 1 Filed 12/13/21 Page 64 of 64
